    Case 1:19-cv-03110-TOR   ECF No. 190-2    filed 10/25/23   PageID.3028 Page 1 of 85




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4
    Additional Counsel Identified on Signature Page to Plaintiffs’ Reply
5
                   IN THE UNITED STATES DISTRICT COURT
6                FOR THE EASTERN DISTRICT OF WASHINGTON

 7 COMMUNITY ASSOCIATION FOR                 Case No. 1:19-CV-3110-TOR
   RESTORATION OF THE
 8 ENVIRONMENT, INC., a Washington          DECLARATION OF DAVID J.
   non-profit corporation; FRIENDS OF       ERICKSON IN SUPPORT OF
 9 TOPPENISH CREEK, a Washington non- PLAINTIFFS’ MOTION FOR AWARD
   profit corporation; and CENTER FOR       OF ATTORNEYS’ AND EXPERT
   FOOD SAFETY, a Washington, D.C. non- WITNESSES’ FEES AND COSTS
10 profit corporation,

11              Plaintiffs,
       v.
12
   AUSTIN JACK DECOSTER, an individual,
13 DECOSTER ENTERPRISES, LLC, a
   Delaware limited liability company,
14 AGRICUTURAL INVESTMENT-FUND
   II, LLC, a Delaware limited liability
15 company, IDAHO AGRI INVESTMENTS,
   LLC, an Idaho limited liability company,
16 IDAHO DAIRY HOLDINGS, LLC, an
   Idaho limited liability company, DRY
17 CREEK DAIRIES, LLC, an Idaho limited
   liability company, WASHIGNTON AGRI
18 INVESTMENTS, LLC, a Washington
   limited liability company, WASHINGTON
19 DAIRY HOLDINGS, LLC, a Washington
   limited liability company, DBD
20 WASHINGTON, LLC, a Washington

    DECLARATION OF DAVID J. ERICKSON IN SUPPORT OF PLAINTIFFS’
    MOTION FOR AWARD OF FEES AND COSTS                    -1
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 1 limited liability company; and SMD, LLC, a
   Washington limited liability company,
 2              Defendants.

 3

 4         I, David J. Erickson, hereby declare as follows:

 5         1.     I am over the age of eighteen and am competent to make this

 6   declaration, which is based on my personal knowledge. I was retained as an expert

 7   witness for Plaintiffs in the above-captioned case.

 8         2.     I reviewed Defendants’ opposition to Plaintiffs’ request for fees and

 9   costs, along with the declaration of Scott Stephen, ECF Nos. 186 and 189. At best,

10   Mr. Stephen’s declaration is misleading.

11         3.     Throughout the litigation, in which I was heavily involved both in

12   collecting data and negotiating possible resolution of the case over the four years

13   of engagement, it was obvious that Defendants were listening to what we were

14   saying but then doing what they wanted to do. From improper abandoning of

15   lagoons, to destruction of monitoring wells, to application of an enzyme to crop

16   fields, resulted in the proverbial “moving of the goal posts” every time we visited

17   the site or engaged in consent decree negotiations – conditions were always

18   changing between visits.

19         4.     One clear example is how they attempted to address storm water at the

20   southern heifer pens. They placed mountains of manure in the pens to create the

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 1   slope need to runoff precipitation. Unfortunately, the ground water is shallow, and

 2   the mountains of permeable waste just infiltrate water and wastewater and leach

 3   nutrients at higher concentrations into ground water.

 4         5.     For Mr. Stephen to repeatedly say, as he does in Paragraphs 17-20 of

 5   his declaration, that Defendants were already doing the things he mentioned is

 6   highly misleading; Defendants’ actions were nearly always the result of Plaintiffs’

 7   urging. For instance, Defendants only put monitoring wells in after Plaintiffs

 8   requested them. Attached hereto as Exhibit 1 are maps WET produced on March

 9   17, 2020, that Plaintiffs circulated to Defendants showing where Plaintiffs wanted

10   monitoring wells. Defendants then installed most of them in the areas we

11   recommended nearly 18 months later. The rest were done consistent with our

12   earlier recommendations and through the Consent Decree. However, almost one

13   year went by before even receiving a response from Farallon, with maps dated

14   April 22, 2021.

15         6.     In Paragraph 4, Mr. Stephen mentions the CAFO permit and that the

16   permits have been “historically voluntary” and his clients “voluntarily chose to

17   obtain them.” Apparently, compliance with federal law is entirely optional. In any

18   event, the pollution from the Defendants’ facilities is extensive. The CAFO

19   permits, voluntary or not, do not address the extent of the contamination from these

20   sites and would not have discovered the contamination in the first place. The

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 1   Consent Decree, on the other hand, is intended to do just that: find and remediate

 2   the contamination.

 3            7.    Below is a chart that compares the matters raised by Mr. Stephen, the

 4   permit language, and the Consent Decree solutions. As is plainly evident, the

 5   Consent Decree is far more detailed and comprehensive than the WA CAFO

 6   permit.

 7           Stephen           CAFO Permit            Consent Decree Requirement
                                             1
             Assertion         Requirement
 8       Dairy in process   ECF No. 189-1 at ¶ 20-21, “Lagoon Decommissioning.”
         of abandoning      Section S4.C.4.E.,
 9       lagoons and        “Waste Storage      Requires:
         emptying           Pond Closure            1) Decommission lagoons in
10       another. CAFO      Procedures.”        accordance with S4.C.4.E, “or whatever
         Permit has                             more stringent protocol may be in place at
11       procedure for      Requires permittee the time.”
         abandonment,       to decommission         2) Compliance with NRCS Practice
12       and it is          storage lagoon by Standard 360 during decommissioning.
         referenced in      rendering it            3) Conduct topographical surveys
13       Decree. DBD        unusable, land-     extending to 50 feet beyond each edge of
         allegedly lining   apply excavated     lagoon.
14       already. ECF       high-nutrient soils     4) Removal of all “organic solids”
         No. 189 ¶ 17.      to fields, and then from lagoon until undisturbed pre-
15                          backfill with dirt  construction soils encountered.
                            and seeded to           5) Lagoon areas to be cropped while
16                          prevent erosion.    pilot studies underway.
                            See Subparagraphs       6) All information collected and
17                          i. – iv.            analyzed under Para. 20 to be provided to

18
     1
       Plaintiffs note that the version of the permit provided by Mr. Stephen is the
19   updated, January 6, 2023, CAFO Permit (presently under administrative
     challenge). Plaintiffs successfully challenged the last version of the Permit, which
20   was held by Defendants, in the Washington Court of Appeals for, inter alia, failing
     to protect groundwater.
     DECLARATION OF DAVID J. ERICKSON IN SUPPORT OF PLAINTIFFS’
     MOTION FOR AWARD OF FEES AND COSTS                                           -4
     Case 1:19-cv-03110-TOR   ECF No. 190-2   filed 10/25/23   PageID.3032 Page 5 of 85




 1                                          Plaintiffs contemporaneously, or within
                                            five business days.
 2
                                            Additionally, Paras. 15-19 of Decree have
 3                                          specific requirements for how and when
                                            lagoons are to lined, including with a
 4                                          liner “that meets GRI-GM13 Standard
                                            Specification overlain by a 60-mil
 5                                          textured HDPE liner, with incorporated
                                            leak detection[.] No such provisions or
 6                                          requirements in CAFO permit.
      DBD installed    CAFO Permit          ECF No. 180 ¶ 25, “Groundwater
 7    10 monitoring    Section 5.D.,        Monitoring.”
      wells and has    “Groundwater
 8    been sampling    Monitoring.”         States that Defendants have installed 13
      those wells.                          monitoring wells, and that “additional RI
 9    ECF No. 189 ¶    Requires medium      wells shall be installed” by Defendants
      18.              and large CAFOs      under Plaintiffs’ oversight.
10                     within nitrate
                       priority areas to    Pursuant to ¶ 26, wells to be analyzed for
11                     develop              parameters that are more extensive than
                       groundwater          CAFO permit, including ammonia,
12                     monitoring plan      chloride, total phosphorus, and oxidation
                       with at least one    reduction potential.
13                     upgradient
                       monitoring well,     Pursuant to ¶ 27, Plaintiffs to receive all
14                     but no               laboratory samples and results within 15
                       requirements for     days of sampling events.
15                     total number of
                       wells. Sampling      10 wells were installed at Plaintiffs’
16                     only of limited      request earlier in case.
                       parameters.
17    Claiming that    CAFO Permit          ECF No. 180 ¶¶ 28-37, “Manure
      Defendants       Section S4.L,        Application and Field Management.”
18    have “already    “Adaptive
      been doing the   Management of        Major provisions of Decree that require
19    necessary work   Land Application     Defendants to bring residual nitrate and
      to comply with   Fields,” and Table   phosphorus levels in fields to 15 ppm
20    agronomic
     DECLARATION OF DAVID J. ERICKSON IN SUPPORT OF PLAINTIFFS’
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     Case 1:19-cv-03110-TOR      ECF No. 190-2     filed 10/25/23   PageID.3033 Page 6 of 85




 1    application         IV (at Ex. 189-1 p. nitrate and 40 ppm phosphorus. Requires
      rates.”             33).                annual sampling for phosphorus.
 2    Acknowledges
      that Decree sets    Authorizes             If fields are not meeting those goals,
 3    forth reduced       residual nitrate       application rates are curtailed at a specific
      application rates   levels of up to 45     percentage of calculated agronomic rate.
 4    based on level      mg/L in the top
      of nitrate          feet of the soil       Requires use of flow meters and a soil
 5    measured in         column.                moisture monitoring program, with
      fields. ECF No.                            installation of irrigation sensors to
 6    189 ¶ 18.           Phosphorus to be       monitor soil moisture levels in eight
                          sampled once           representative fields.
 7                        every three years.
                                                 All manure management records to be
 8                                               provided to Plaintiffs.
      “Issues related     CAFO Permit            ECF No. 180 ¶ 42, “Silage Area.”
 9    to silage storage   Section S4.C.2,        Requires all silage harvested in 2023 or
      stormwater          “Solid Materials       after to be stored on asphalt or concrete
10    management          Storage                pads that are sloped to drain to lined
      and composting      Facilities.”           collection pump.
11    areas are all
      addressed in the    Facilities to locate   ECF No. 180 ¶ 43, “Site Drainage.”
12    CAFO permit.        solid manure           Requires Defendants to complete
      The numbers         storage areas on       stormwater budget and site drainage plan
13    set forth in the    impervious             for various locations at dairies, including
      Consent Decree      surfaces or soil       a lined lagoon at the Heifer Ranch. Gives
14    may be              pads designed to       Plaintiffs right to review and comment
      different but the   “minimize              upon plans.
15    work is already     discharge of
      being done.”        pollutants from        ECF No. 180 ¶¶ 45-51, “Compost Areas.”
16    ECF No. 189 ¶       solid manure.”         Requiring Defendants to compost manure
      20.                                        in specific areas; survey and grade those
17                                               areas to allow appropriate drainage;
                                                 compact areas that do not meet stated
18                                               permeability requirements; line all
                                                 collection ditches or drains; and submit
19                                               plan from Washington licensed engineer
                                                 certifying work meets Decree
20                                               requirements.
     DECLARATION OF DAVID J. ERICKSON IN SUPPORT OF PLAINTIFFS’
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 1

 2         8.     At Paragraphs 7-11, Mr. Stephen discusses nutrient management plans

 3   and recommendations, implying compliance with the permits. In reality,

 4   Defendants ignored Mr. Stephen’s recommendations and overapplied manure to

 5   numerous fields. See Defendants’ Responses to Plaintiffs’ Second Set of

 6   Interrogatories and Requests for Production and First Set of Requests for

 7   Admission, served October 13, 2021, at pp. 17-20, attached hereto as Exhibit 2.

 8         9.     Additionally, WET had to oversee Farallon when installing and

 9   testing wells to prevent improper or misplaced installation. Overall, as part of both

10   the Rule 34 inspection and settlement negotiations throughout the case and before

11   entry of the Consent Decree, WET has visited the site approximately eight times,

12   including three more visits of visual inspections along county roads. Also, at the

13   request of Defendants, WET has provided extensive site evaluation expertise and

14   solutions, most of which Defendants adopted before a Consent Decree was agreed

15   upon. These include monitoring networks, lagoon lining, and a corrective action

16   approach to speed up removal of ground water contamination.

17         10.    As another example, at Paragraph 15, Mr. Stephen says DBD was

18   doing a majority of the tasks set forth in the Consent Decree. That was only after

19   WET provided extensive background discussion and schematics showing what

20   needed to be done. WET is also providing oversight on DBDs actions, since they
     DECLARATION OF DAVID J. ERICKSON IN SUPPORT OF PLAINTIFFS’
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 1   have not hired a hydrogeologist/remediation specialist and Mr. Stephen is an

 2   agronomist.

 3         11.     At Paragraph 17, Mr. Stephen states that DBD was abandoning

 4   lagoons. In fact, DBD had no plans to abandon lagoons until Plaintiffs got involved

 5   and showed them how contaminated the sites were. Earlier consultants argued that

 6   the contamination was not a problem, confusing nitrate and ammonium. Nothing

 7   could be further from the truth, as my primary expert report, attached hereto as

 8   Exhibit 3, indicates. DBD resisted abandoning and lining lagoons until we showed

 9   them it was necessary to address the ongoing contamination. They also improperly

10   abandoned lagoons at SMD and will have to address them as part of the Consent

11   Decree after the Remedial Investigation is complete, which will be later this Fall,

12   and then likely as part of the Pilot Project.

13         12.     Mr. Stephen’s Paragraphs 19-20 argue that compliance with

14   agronomic application rates was already in progress before the Consent Decree

15   was entered. While this statement may be partly true, Defendants only attempted to

16   comply with agronomic rates when Plaintiffs told them that work needed to be

17   done. Only at that time did they disclose that the ground water concentration of

18   nitrate and salts were elevated and the crops were getting enough nutrient from

19   ground water and capillary action.

20

     DECLARATION OF DAVID J. ERICKSON IN SUPPORT OF PLAINTIFFS’
     MOTION FOR AWARD OF FEES AND COSTS                    -8
     Case 1:19-cv-03110-TOR    ECF No. 190-2   filed 10/25/23   PageID.3036 Page 9 of 85




 1         13.   Perhaps most importantly, the length of time to get from identifying

 2   the problem to getting the final Consent Decree was extremely frustrating. A

 3   combination of changing lawyers, unqualified and ever-changing experts, periods

 4   with no response, and site visits where major construction projects had taken place

 5   without any discussion on the correct process and procedure, resulted in many

 6   delays, many hours of oversight, redoing various construction projects, and

 7   questioning of any information the Defendants submitted.

 8         14.   The most blatant of the several projects completed without a plan or

 9   discussion was the burying of the SMD lagoons, where we were told they were

10   abandoned according to NRCS standards. In the first place, they were not

11   constructed to NRCS guidelines. Later investigation in the old lagoon footprint

12   showed they were simply buried with dirt, and the manure on the lagoon bottom

13   was in direct contact with ground water. When DBD dug up the lagoons, ground

14   water was and still is in the excavation bottom, along with the remaining manure in

15   the lagoon bottom. In addition, recent investigations indicate the DBD lagoons

16   were in contact with ground water, meaning they also did not meet the NRCS

17   guidelines. These actions do not comply with any regulation or standard of which I

18   am aware.

19         15.   I swear under penalty of perjury that the foregoing is true and correct

20   to the best of my knowledge.

     DECLARATION OF DAVID J. ERICKSON IN SUPPORT OF PLAINTIFFS’
     MOTION FOR AWARD OF FEES AND COSTS                    -9
     Case 1:19-cv-03110-TOR   ECF No. 190-2   filed 10/25/23   PageID.3037 Page 10 of 85




 1          DATED: October 25, 2023

 2

 3                                                      David J. Erickson
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      DECLARATION OF DAVID J. ERICKSON IN SUPPORT OF PLAINTIFFS’
      MOTION FOR AWARD OF FEES AND COSTS                   - 10
     Case 1:19-cv-03110-TOR    ECF No. 190-2    filed 10/25/23   PageID.3038 Page 11 of 85




 1                              CERTIFICATE OF SERVICE

 2          I hereby certify that on October 25, 2023, I electronically filed the foregoing
      document, together with all exhibits thereto, on the Court’s CM/ECF filing system,
 3    which will automatically serve the following counsel of record:

 4
            Gary H. Baise                    vthedgerow@aol.com
 5          Jay Carroll                      jcarroll@hnw.law
            Amy van Saun                     avansaun@centerforfoodsafety.org
 6          Toby Marshall                    tmarshall@terrellmarshall.com
            Blythe H. Chandler               bchandler@terrellmarshall.com
 7          Andrea K. Rodgers                andrearodgers42@gmail.com
            Daniel C. Snyder                 dsnyder@publicjustice.net
 8

 9                                                 /s/ Jonathan D. Frohnmayer
                                                   Jonathan D. Frohnmayer
10                                                 Law Offices of Charles M. Tebbutt
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      DECLARATION OF DAVID J. ERICKSON IN SUPPORT OF PLAINTIFFS’
      MOTION FOR AWARD OF FEES AND COSTS                   - 11
Case 1:19-cv-03110-TOR   ECF No. 190-2   filed 10/25/23   PageID.3039 Page 12 of 85




               Exhibit 1 – Monitoring Well Maps
                                                                                                     Case 1:19-cv-03110-TOR                       ECF No. 190-2                    filed 10/25/23         PageID.3040 Page 13 of 85

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                                                                                                                                                                                                                                                                       SITE FEATURES


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Legend                                                                                                                                                                                                                                                            DERUYTER BROTHERS DAIRY
 O
 !   Centrifuge
                    "
                    /   Manure Pit                          (
                                                            !   Pump                                Boundary             Pens                                                                                                                                        Yakima County, Washington
 ! Domestic Well
 A                                                              Yakima county Monitoring Well       Alfalfa Hay          Ponds
                        Proposed Boring Location            @
                                                            A
                                                                                                                                                                                                                                                                                                          FIGURE 2a
                                                                                                                                                                                                                                                  Job#: CAFOM010
                                                                                                    Composting Area      Sand Lanes                                                                                Feet
"
T    Feed Storage
                    @
                    A   Proposed Monitoring Well Location       DeRuyter Brothers Dairy
                                                                                                    Lagoon               Silage                                    Erickson Declaration - Exhibit 1                                               Date: 3/17/2020
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                                                                                                                                                                                                      0            400             800            Path: M:\CAFOM10\2020\Figure2a.mxd, Author: jleprowse
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                                                                             Case 1:19-cv-03110-TOR         ECF
                                                                                                            8-11B No. 190-2        filed 10/25/23            8-11C
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                                                                   Corn/Tritcale
                                                                   Center Pivot



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                                                                                          Center Pivot


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Legend


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    Proposed Boring Location
    Proposed Monitoring Well Location
    Yakima county Monitoring Well
                                        DeRuyter Brothers Dairy
                                        Snipes Mountain Dairy
                                                                                                                                                                     Feet
                                                                                                                                                                                          .                             Job#: CAFOM010

                                                                                                                                                                                                                        Date: 4/2/2020
                                                                                                                                                                                                                                             SNIPES MOUNTAIN DAIRY
                                                                                                                                                                                                                                           Yakima County, Washington

                                                                                                                                                                                                                                                                                FIGURE 2b
A
!                                                                                                                  Erickson Declaration - Exhibit 1                                                                                                                                 2
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Case 1:19-cv-03110-TOR   ECF No. 190-2   filed 10/25/23   PageID.3042 Page 15 of 85




    Exhibit 2 – Interrogatory re Manure Applications
     Case 1:19-cv-03110-TOR         ECF No. 190-2           filed 10/25/23        PageID.3043 Page 16 of 85




1     LLC and SMD, LLC. Washington Agri Investments, LLC and Washington Dairy Holdings, LLC

      do not operate the Dairies.
2

3
             INTERROGATORY NO. 19: Identify and specifically describe the nature and role of
4
      DeCoster Enterprises, LLC’s investments in Washington Agri Investments, LLC and Washington
5
      Dairy Holdings, LLC.

6            OBJECTION: Defendants object to Interrogatory No. 19 as directed to the relationship

7     between three non-parties: DeCoster Enterprises, LLC; Washington Agri Investments, LLC; and

      Washington Dairy Holdings, LLC, and, therefore, improper under FRCP 31. Defendants further
8
      object to terms “nature” and “role” as vague, overbroad, and subject to multiple definitions.
9
             ANSWER: See objections.
10

11
             INTERROGATORY NO. 20: From the date of Your ownership of the Dairies to the

12    present, identify each and every instance where You applied manure (liquid, solid, or compost) in

13    amounts that exceeded the crop-year recommendations made by Scott Stephen. For each such

      instance, identify the crop year, the field, the amount recommended by Mr. Stephen (in
14
      gallons/acre and lbs. of nitrogen/acre), and the amount actually applied by You (in gallons/acre
15
      and lbs. of nitrogen/acre). The following chart represents an example template that would be
16
      responsive to this Interrogatory:
17
       Crop Year                Field ID                     Amount                       Amount Actually
                                                             Recommended                  Applied
18

19
             OBJECTION: Defendants object to the terms “exceeded crop-year recommendations”
20

                                                                                      MARTEN LAW, LLP
       DEFENDANTS’ RESPONSES TO PLAINTIFFS’
                                                                               1191 SECOND AVENUE, SUITE 2200
       SECOND SET OF INTERROGATORIES AND                                         SEATTLE, WASHINGTON 98101
       REQUESTS FOR PRODUCTION AND FIRST SET OF                                       PH: (206) 292-2600
       REQUESTS FOR ADMISSION – 17                                                    FX: (206) 292-2601
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1     and “Amount Recommended” to the extent that they imply a legal conclusion or fail to incorporate

      industry-standard margins.
2
              ANSWER: Subject to and without waiving their specific and general objections,
3
      Defendants respond as follows:
4
                                        A. Applications Above Recommended1
5
          During Defendants’ tenure, the Dairies made the following manure applications in amounts

6     above amounts recommended by the Dairies’ consultant, Agrimanagement, Inc.

7         A.1. DBD

            Field ID             Date           Report No            Rec.            lbs/ac       Applied     lbs/ac
8                                                                  Gallons                        Gallons
           Field 01 B         10/10/2017        F17-0557              0                0          282,579      20
9          Field 01 B         5/15/2018         F18-0293              0                0          176,036       17
           Field 01 C         10/10/2017        F17-0558              0                0          146,221      20
10        Field 02 EB         10/18/2017        F17-0635              0                0          152,768      11
          Field 02 EB         5/21/2018         F17-0349              0                0          145,525      13
          Field 02 EC         10/19/2017        F17-0636              0               0            97,574      11
11
         Field 02 NWB         10/20/2017        F17-0657              0                0           31,539      11
         Field 02 NWB         5/21/2018         F17-0351              0               0            29,196      13
12       Field 02 SWB         10/20/2017        F17-0658              0                0           68,499      11
          Field 02 WC         10/20/2017        F17-0659              0               0           142,420      11
13        Field 02 WC         5/21/2018         F18-0353              0               0           130,014      13
           Field 03 B         10/17/2017        F17-0624              0                0          204,472      28
14         Field 03 B         5/29/2018         F18-0340              0                0          140,377       13
           Field 03 C         10/17/2017        F17-0625              0                0          365,128      28
15         Field 03 C         5/18/2018         F18-0341              0                0          250,644       13
            Field 04          9/18/2017         F17-0529              0               0           153,600      45
16          Field 05          9/29/2017         F17-0560           112,500            30          166,400      44
            Field 05          5/10/2018         F18-0264            78,000            40          197,755      85
            Field 07          5/10/2018         F18-0266            26,000            40           70,000      108
17
         Field 08-11 B        5/16/2018         F18-0303           629,200            40          830,747       39
         Field 08-11 C        5/16/2018         F18-0304              0                0          201,636       32
18          Field 21          10/10/2017        F17-0604              0               0           332,800      39

19
              1
                The applications shown on the following tables in blue do not exceed 10% over the recommended amount.
20    Applications within 10% margin are acceptable under the industry standard and are not considered overapplications.
      Additionally, the application shown on the table in yellow was based on erroneous data provided by the testing lab.
                                                                                              MARTEN LAW, LLP
       DEFENDANTS’ RESPONSES TO PLAINTIFFS’
                                                                                       1191 SECOND AVENUE, SUITE 2200
       SECOND SET OF INTERROGATORIES AND                                                 SEATTLE, WASHINGTON 98101
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       REQUESTS FOR ADMISSION – 18                                                            FX: (206) 292-2601
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1         Field ID        Date         Report No            Rec.            lbs/ac       Applied     lbs/ac
                                                          Gallons                        Gallons
         Field 22 SS    10/9/2017       F17-0544             0                0          107,360      31
2          Field 23     10/9/2017       F17-0545             0                0          396,800      42
           Field 23     5/14/2018       F18-0283          206,064            42          648,645      94
3          Field 24     10/16/2017      F17-0623          723,100            40         1,139,200     63
           Field 25     10/10/2017      F17-0605             0                0           38,400      15
4          Field 25     5/14/2018       F18-0284           40,000            30           90,000      46
           Old Mint      4/25/2018      F18-0223          144,800            140         150,260      145
5         Field 01 B    5/16/2019       F19-0297             0                0           84,721      10
          Field 01 C    10/12/2018      F18-0653             0                0          136,858      33
         Field 02 EB    10/18/2018      F18-0733             0                0          658,302      78
6
         Field 02 EB    5/27/2019       F19-0364             0                0          185,310      21
         Field 02 EC    10/19/2018      F18-0748          214,600            40          419,980      78
7       Field 02 NWB    10/19/2018      F18-0749             0                0          136,032      78
        Field 02 NWB    5/26/2019       F19-0370             0                0           38,292      21
8       Field 02 SWB    10/19/2018      F18-0750             0                0          294,983      78
        Field 02 SWB    5/28/2019       F19-0371             0                0           83,037      21
9        Field 02 WC    10/19/2018      F18-0751             0                0          612,887      78
         Field 02 WC    5/28/2019       F19-0372             0                0          172,526      21
10         Field 04     10/9/2018       F18-0611             0                0          121,600      42
           Field 04     5/20/2019       F19-0327             0                0          140,400      59
11         Field 05     10/9/2018       F18-0612             0                0          256,000      95
           Field 05     5/20/2019       F19-0328             0                0          166,400      75
        Field 08-11 B   10/16/2018      F18-0699          859,100            40         2,939,123     167
12
        Field 08-11 B   5/21/2019       F19-0331             0                0          153,613       8
         Field 22 CP    10/13/2018      F18-0655             0                0          218,320      42
13       Field 22 CP    5/15/2019       F19-0286          221,430            40          426,865      75
           Field 23     10/13/2018      F18-0657          190,800            35          758,642      140
14         Field 04      5/7/2020       F20-0304          107,200            40          124,800      52
           Field 07      5/7/2020       F20-0307           33,500            40           36,400      50
15         Field 21      5/14/2020      F20-0371             0                0          951,600      193
         Field 22 CP     5/15/2020      F20-0372          286,770            51          301,600      60
16       Field 22 SS     10/7/2019      F19-0752          234,600            81          242,600      84
           Field 24      5/12/2020      F20-0332         2,024,680           181        2,142,400     199
17
         A.2. SMD
18
           Field ID       Date         Report No           Rec.             lbs/ac       Applied     lbs/ac
19                                                        Gallons                        Gallons
          Field 03      05/09/18       F18-0260           609,000            150         646,400      180
20        Field 04      05/08/18       F18-0243           183,000            135         256,000      188

                                                                                     MARTEN LAW, LLP
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                                                                              1191 SECOND AVENUE, SUITE 2200
       SECOND SET OF INTERROGATORIES AND                                        SEATTLE, WASHINGTON 98101
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       REQUESTS FOR ADMISSION – 19                                                   FX: (206) 292-2601
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1         Field 05        05/09/18       F18-0259           760,000            140         953,600      175


2         Field 03        10/22/18       F18-0777                0              0          51,200        13
          Field 05        10/19/18       F18-0752                0              0          290,400       51

3
          Field 01        10/11/19       F19-0828           470,400             40         788,000       68
          Field 02        10/11/19       F19-0829           180,700             66         377,600      154
4         Field 03        10/14/19       F19-0839           402,300             71         734,300      137
          Field 04        10/14/19       F19-0840           218,000            104         262,000      129
5         Field 05        10/14/19       F19-0841           680,000            81          680,300      83

6                                       B. Emergency Applications

7            During Defendants’ tenure, the Dairies made the following emergency manure applications

      according to the CAFO permit, with notice to both the Washington Department of Agriculture and
8
      the Washington Department of Ecology, and to protect public safety to avoid overtopping lagoons.
9
         B.1. DBD
10
          Field ID          Date         Report No           Rec.             lbs/ac       Applied     lbs/ac
                                                            Gallons                        Gallons
11       Field 01 B      Spring 2019                                                      1,461,906      150
         Field 01 C      Spring 2019                                                       757,138       150
12      Field 02 EB      Spring 2019                                                       916,784        91
        Field 02 EB      Spring 2019                                                       357,011        30
13      Field 02 EC      Spring 2019                                                       584,886        91
       Field 02 NWB      Spring 2019                                                       189,445       91
14     Field 02 SWB      Spring 2019                                                       410,809       91
        Field 02 WC      Spring 2019                                                       853,538        91
         Field 03 B       10/17/18       F18-0714                0              0          636,054        78
15
         Field 03 B      Spring 2019                                                      4,271,055      438
         Field 03 C       10/17/18       F18-0715                0              0         1,135,680       78
16       Field 03 C      Spring 2019                                                      7,626,036      438
       Field 08-11 B     Spring 2019                                                      6,052,126      287
17     Field 08-11 B     Spring 2019                                                       230,989        9
       Field 08-11 C      10/15/18       F18-0672                0              0          801,648       137
18     Field 08-11 C     Spring 2019                                                      1,650,722      287
          Field 21        10/12/18       F18-0654                0              0         2,463,676      419
19        Field 21       Spring 2019                                                       443,071        65
        Field 22 CP      Spring 2019                                                      1,678,820      265
20      Field 22 CP      Spring 2019                                                       475,843       65

                                                                                       MARTEN LAW, LLP
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                                                                                1191 SECOND AVENUE, SUITE 2200
       SECOND SET OF INTERROGATORIES AND                                          SEATTLE, WASHINGTON 98101
       REQUESTS FOR PRODUCTION AND FIRST SET OF                                        PH: (206) 292-2600
       REQUESTS FOR ADMISSION – 20                                                     FX: (206) 292-2601
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                    Exhibit 3 – Expert Report
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                              EXPERT REPORT

                                            OF

                             DAVID J. ERICKSON

    Community Association for Restoration of the Environment, Inc., Friends of
              Toppenish Creek, and Center for Food Safety, Inc.,
                                       v.

    Austin Jack DeCoster, DeCoster Enterprises, LLC, Agricultural Investment-
     Fund II, LLC, Idaho Agri Investments, LLC, Idaho Dairy Holdings, LLC,
     Dry Creek Dairies, LLC, Washington Agri Investments, LLC, Washington
          Dairy Holdings, LLC, DBD Washington, LLC, and SMD, LLC.

                      (E.D. Wash. No. 1:19-CV-3110-TOR)

                                  Prepared for:
                     Law Offices of Charles M. Tebbutt, P.C.
                               941 Lawrence St.
                              Eugene, OR 97401

                                 Public Justice
                          1825 K Street, NW Suite 200
                            Washington, D.C. 20006

                           Center for Food Safety, Inc.
                         303 Sacramento Street, 2nd Floor
                            San Francisco, CA 94111




                                                                                     1
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                                INTRODUCTION

    1.    I, David J. Erickson, have been retained by Plaintiffs in the above-

    captioned matter to provide expert testimony about the manure management

    and storage practices of Defendants Austin Jack DeCoster, DeCoster

    Enterprises, LLC, Agricultural Investment-Fund II, LLC, Idaho Agri

    Investments, LLC, Idaho Dairy Holdings, LLC, Dry Creek Dairies, LLC,

    Washington Agri Investments, LLC, Washington Dairy Holdings, LLC,

    DBD Washington, LLC, and SMD, LLC (“Defendants”), including whether

    these activities have caused contamination of soils and groundwater. Figure

    1 shows the location of both DBD and SMD Dairies.

    2.    I have worked in the in the Hydrogeology/Geology field for 35 years.

    I am currently the Principal/Founder of Water & Environmental

    Technologies, PC in Butte, Montana. I served as the President/Principal for

    20 years. I am a registered Professional Geologist in Utah and Wyoming

    and a Certified Professional Geologist with the American Institute of

    Professional Geologists. I graduated with a degree in Geological

    Engineering from Montana Tech.

    3.    During my 35 years of professional experience, my main focus has

    been on contaminant hydrogeology: identification of contaminant behavior

    in the subsurface and remediation of the impacts. I have been responsible



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    for investigation and remediation of many Underground Storage Tank and

    Hazardous Waste Sites with contaminants including: fuels, solvents, wood

    treating compounds, metals, pesticides, herbicides, fungicides, and

    fertilizers.

    4.     As Project Manager/Principal Hydrogeologist, I have supervised,

    designed, installed, and monitored various types of remedial technologies or

    remedial methods including air stripping, air sparging, vapor extraction,

    bioventing, bio-cell treatment, biostimulation, Non-Aqueous Phase Liquid

    recovery, in-situ and ex-situ bioremediation, natural attenuation, barrier wall

    technology, pump & treat, and excavation & off-site disposal.

    5.     I have extensive experience working with waste storage

    impoundments. For instance, I was involved in the hydrogeologic

    investigation and characterization of groundwater contamination at a

    Wyoming power facility, where large settling ponds containing coal ash and

    flue gas desulfurization liquor were leaking, resulting in impacts to

    groundwater. The investigation included geochemical modeling to identify

    contaminant fingerprints and a geostatistical model of the alluvium/bedrock

    contact. After investigating and characterizing the site, I was responsible for

    the installation of a monitoring system, and, later the development of a

    groundwater flow and contaminant transport model.



                                                                                        3
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    6.    During my career, I have looked at and/or investigated over 100 waste

    lagoons and impoundments. A vast majority have impacted groundwater

    due to seepage through earthen liners.

    7.    In the last eight years, I have investigated over thirty Concentrated

    Animal Feeding Operations (“CAFOs”) in six different states. In the 1990s,

    I investigated twenty-seven grain storage/agricultural chemical distribution

    facilities across Montana and North Dakota; nine of these facilities required

    remediation. I am very familiar with agricultural chemicals, their use and

    storage, and the contaminant fate and transport of these various compounds.

    8.    Water & Environmental Technologies (“WET”) is responsible for

    installing or operating remedial systems at several locations. Recently, we

    have installed or operated:

             a. A pumpback system for a major industrial waste pond in

                 Wyoming.

             b. A dewatering system for a waste pond in central Wyoming.

             c. A capture system for seepage of waste from a waste

                 impoundment and landfill in Utah.

             d. A pump and treat system for a leaking pond at a Coal Fired

                 Generator Site in Kemmerer, Wyoming.

             e. A free product recovery system to remediate a 250,000-gallon



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                  diesel spill at a county shop in Montana.

              f. An air sparging/vapor extraction system with oxygen injection

                  for gasoline contamination in Colorado.

              g. Installation and optimization of free product recovery by

                  installing interceptor trenches in Wyoming.

              h. A multi-million-dollar restoration project involving excavation,

                  vapor extraction and multi-phase extraction at a refinery in

                  Sunburst, Montana.

    9.    I have also completed work on several projects involving nitrate

    contamination caused by both individual wastewater treatment systems and

    agricultural activities. These projects include remedial activities at 12

    fertilizer distribution facilities and investigation work at both hog and dairy

    CAFOs. With respect to wastewater treatment and septic discharges, WET

    has completed an eight-year study of septic system impacts to groundwater

    and developed a patented treatment system (SepticNET) to remove both

    nitrate and phosphorous from individual and small community septic

    discharges.

    10.   The development of the SepticNET involved several years of

    sampling and characterizing septic discharges from both individual and

    community treatment systems, delineating the extent and magnitude of



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    septic impacts to groundwater, and evaluating the hydrogeologic

    characteristics of multiple areas where nitrate impacts have degraded

    groundwater above drinking water standards.

    11.   The SepticNET system uses a biological process to nitrify the raw

    wastewater and denitrify the treated wastewater. It requires a complete

    understanding of the Nitrification-Denitrification (NDN) process that

    sometimes occurs in soil. It also requires an understanding and optimization

    of the nitrogen cycle.

    12.   My curriculum vitae is attached hereto as Exhibit E. It contains a list

    of my prior work history and activities.

    13.   I am being compensated at a rate of $250/hour for the time I have

    spent on this report. This fee is doubled for depositions and trial testimony.

    14.   I have reviewed numerous documents about DBD and SMD, the

    Yakima Valley, and resource information for Yakima County. This

    information includes:

          a.     The Dairy Nutrient Management Plans (“DNMP”) for DBD

          and SMD, along with all appendices and attached information;

          b.     Annual Reports submitted by Defendants for the DBD and

          SMD dairies, identified with the following Bates Nos.:

                    i. 2018 DBD Revised, DAIRIES-00018575



                                                                                         6
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                  ii. 2019 SMD, DAIRIES-00012512, as well as DAIRIES-

                     00000607

                 iii. 2019 DBD, DAIRIES-00012536

                 iv. 2020 SMD, DAIRIES-00016540

                  v. 2020 DBD, DAIRIES-00016481

                 vi. 2021 SMD – No Bates

                 vii. 2021 DBD – No Bates

                viii. 2022 SMD – No Bates

                 ix. 2022 DBD – No Bates

         c.    A variety of soil sampling, manure sampling, and fertilizer

         recommendation information, outside of what is reported in the

         Defendants’ Annual Reports:

                  i. DAIRIES-00000673 (Fall 2019 SMD Lab Data)

                  ii. DAIRIES-00002620 (2019 SMD Fertility Report)

                 iii. DAIRIES-00002640 (2018 SMD manure sampling

                     information)

                 iv. DAIRIES-00002562 (SMD 2019 manure sampling

                     information)

                  v. DAIRIES-00002923 (2018 SMD soil sampling data)




                                                                                      7
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                 vi. DAIRIES-00011065 (Fall, 2020 SMD soil sampling

                     data)

                 vii. DAIRIES-00011075 (Spring, 2020 SMD soil sampling

                     data)

                viii. DAIRIES-00003058, 3058, and 3060 (Fall, 2019 SMD

                     soil sampling data)

                 ix. DAIRIES-00003216 & 3217 (incomplete early Spring,

                     2020 SMD soil sampling data from two fields, sampling

                     occurred in March)

                  x. DAIRIES-00000631 (Fall 2019 DBD Lab information)

                 xi. DAIRIES-00002575 (Ecology nutrient budget with many

                     fields in very high “red” category)

                 xii. DAIRIES-00002656 (Fall 2017 DBD soil sampling and

                     fertility information)

                xiii. DAIRIES-00002698 (2018 DBD soil sampling and

                     fertility information)

                xiv. DAIRIES-00002786 (2019 DBD soil sampling and

                     fertility information)

                 xv. DAIRIES-00002949 through 2063 (Spring, 2019 DBD

                     soil sampling and fertility information, incomplete)



                                                                                     8
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                xvi. DAIRIES-00003011 (Fall, 2019 DBD soil sampling and

                     fertility information)

               xvii. DAIRIES-00003201, 3246-3254 (Spring, 2020 DBD soil

                     sampling and fertility information, appears incomplete)

               xviii. DAIRIES-00003134 (Fall, 2019 DBD manure and

                     nutrient analyses)

                xix. DAIRIES-00003256 (Email from Ecology concerning

                     very high field results)

                 xx. DAIRIES-00010552 (Fall, 2020 DBD soil sampling

                     results)

                xxi. DAIRIES-00011019 (Spring, 2020 DBD soil sampling

                     results)

         d.    Portions (pp. 70-77) of the deposition testimony of Karina

         Chavarin.

         e.    Data collected in connection with two investigations into the

         groundwater nitrate concentrations at the DBD facility. First, WET

         conducted a Rule 34 investigation on behalf of the Law Offices of

         Charles M. Tebbutt, P.C. between May 19 and May 21, 2021, where it

         collected groundwater samples from borings; second, Farallon

         Consulting, L.L.C. (“Farallon”) conducted an investigation on June



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         29, 2021, from samples of ten monitoring wells at DBD.

         f.    Documents and data created in connection with the Clean

         Drinking Water Project.

         g.    Data on E.coli values in samples collected on or near the

         Dairies collected by RSBOJC Water Quality Laboratory and WSDA.

         h.    The log of a boring by Farallon Consulting on or around June

         22, 2021.

         i.    Several studies and reports from the Washington State

         Department of Ecology, including: Carey, Barbara, Effects of Land

         Application of Manure on Groundwater at Two Dairies over the

         Sumas-Blaine Surficial Aquifer, 2002, Washington State Dept. of

         Ecology Publication No. 02-03-007; Erickson, Denis R., Effects of

         Leakage from four Dairy Waste Storage Ponds on Groundwater

         Quality, Final Report, 1994, Washington State Dept. of Ecology

         Publication No. 94-109; E.S. Marx, J. Hart and R.G. Stevens, Soil

         Test Interpretation Guide, Oregon State Extension Service EC 1778.

         1999; Vaccaro, J.J., Jones, M.A., Ely, D.M., Key, M.E., Olsen, T.D.,

         Welch, W.B., and Cox, S.E., 2009, Hydrogeologic Framework of the

         Yakima River Basin Aquifer System, Washington: U.S. Geological

         Survey Scientific Investigations Report 2009-5152, 106 p.



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    15.    All opinions expressed herein are to a reasonable degree of scientific

    certainty, unless otherwise specified. I reserve the right to modify or

    supplement this report based on information obtained by Plaintiffs after the

    date of this report.

    16.    Generally, I have been requested by Plaintiffs to render an opinion

    about whether DBD and SMD’s manure management and storage practices

    have resulted in nitrogen-containing contaminants, principally nitrate, from

    cow manure being leached through the ground and into groundwater.

    Specifically, I have been asked to render an opinion about whether DBD’s

    lagoons, applications fields, and composting areas, and SMD’s lagoons,

    applications fields, composting areas, and pens, are responsible for the

    release of nitrogen and other compounds into soils and groundwater. Based

    on my review of the available information and pertinent literature, I

    conclude that DBD and SMD’s manure management and storage practices

    are one of the primary contributing sources of the nitrogen (in the form of

    nitrate and ammonia) contamination observed in the groundwater.

    17.    Infiltration of wastes and associated contaminants occurs from lagoon

    seepage, from animal operations, from composting operations, from silage

    processing and from overapplication of manure to the fields.

    18.    I have also been asked to render an opinion as to what measures DBD



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    and SMD could reasonably take that would reduce nitrogen loading from the

    dairies and would remediate the nitrate contamination currently in

    groundwater. I discuss these options at the end of this report.

     SCIENTIFIC AND FACTUAL BACKGROUND REGARDING THE

                                          DAIRIES

    19.   The DBD dairy facility (Figure 1) is located at and near 5111 Van

    Belle Road, Outlook, WA 98938. The SMD dairy facility is located at 211

    Nichols Road, Outlook, WA 98938 (the DBD and SMD dairy facilities

    collectively the “Dairies”). I understand that the Dairies share common

    ownership with the DeCoster Enterprises Defendants, and that all entities are

    jointly controlled and operated by all Defendants. I also understand that the

    Dairies share common manure management and application practices, and

    both use Mr. Scott Stephen and Agrimanagement as their crop advisor and

    agronomist.

    20.   According to Defendants’ most recent Annual Reports, the DBD

    facility increased the number of dairy cows from 1300 to 2800 during 2022

    and houses 300 heifers, producing an estimated 19.5 million gallons of

    liquid manure and 54,000 tons of solid manure in 2022. The total acres

    available for land application in 2022 was 848, although only 293 acres were

    used for manure application.



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    21.   The SMD facility is not presently milking, according to the 2022

    Annual Report. The facility houses 2,000 dairy heifers, however, and

    produced an estimated 1,000,000 gallons of liquid manure and 12,000 tons

    of solid manure, all of which is reportedly sent to the DBD facility. The

    facility states it has 147 acres available for manure application, and that it

    used 27 acres for application in 2022.




                                    Image: Heifer Pens

    22.   Based on my observations over the last three years, the number and



                                                                                        13
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    location of these cows has changed significantly on a year-to-year basis.

    Similarly, the Heifer pens have a different density of heifers depending on

    the time of year.

    23.     Using 1997 USDA-National Agricultural Statistics Service data, the

    U.S. Environmental Protection Agency (“EPA”) estimated that a facility

    with 2,500 dairy cattle is estimated to create a similar waste load as a city of

    411,000 people.1 Even this extraordinary comparison is likely an

    underestimate for these Dairies, given that milk production per cow has

    increased by 16% in Washington State, from 20,968 pounds per cow in

    19972 to 24,346 pound per cow in 20213 (Ref 3), and both milk and manure

    production reflect the quantity and quality of feed consumed.4,5 Moreover, a

    significant difference between a city and a dairy farm is that human waste is

    extensively treated before discharge into the environment, whereas waste

    from CAFOs has no such requirement and is not treated, or treated


    1
      “Risk Assessment Evaluation for Concentrated Animal Feeding Operations” EPA-600-R-04-042, at p. 7.
    2
      Milk Production Per Cow. USDA's National Agricultural Statistics Service, Washington Field Office,
    <https://www.nass.usda.gov/Statistics_by_State/Washington/Publications/Historic_Data/index.php>
    (accessed February 13, 2023).
    3
      Milk Production 02/23/2022. USDA's National Agricultural Statistics Service,
    <https://www.google.com/url?sa=t&rct=j&q=&esrc=s&source=web&cd=&ved=2ahUKEwjviefstZP9AhU
    VkGoFHVgCD3QQFnoECA0QAQ&url=https%3A%2F%2Fdownloads.usda.library.cornell.edu%2Fusda-
    esmis%2Ffiles%2Fh989r321c%2F7d279w693%2Ff7624g40c%2Fmkpr0222.pdf&usg=AOvVaw00vbJXO
    zq0_Rl0cDcHSr-c> (accessed February 27, 2023).
    4
      Nennich, T.D. , J.H. Harrison, L.M. VanWieringen, D. Meyer, A.J. Heinrichs, W.P. Weiss, N.R. St-
    Pierre, R.L. Kincaid, D.L. Davidson, and E. Block. 2005. Prediction of Manure and Nutrient Excretion
    from Dairy Cattle. Journal of Dairy Science, 88:3721–3733.
    5
      Bougouin, A., A. Hristov, J. Dijkstra, and 40 others. 2002. Prediction of nitrogen excretion from data on
    dairy cows fed a wide range of diets compiled in an intercontinental database: A meta-analysis. Journal of
    Dairy Science. 105:7462-7481.


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    minimally, before reaching the environment.

    24.       Given that the Dairies collectively have between two to three times as

    many cows as in the EPA’s example, based on the above estimate, they

    produce a similar waste load as a human population of more than a million

    people. Moreover, the number of cows at DBD was substantially higher

    prior to 2020; the number of dairy cows and heifers in 2018 was 5,640,

    producing 54,020,062 gallons of liquid manure and 36,864 tons of sold

    manure;6 and 5,500 in 2019, producing 75 million gallons of liquid manure

    and 36,864 tons of sold manure.7

    25.      Septic discharges from a single-family home average approximately

    60 gallons per person per day with an average concentration of total nitrogen

    of 75 ppm, prior to the nitrate attenuation that occurs in the drainfield. The

    discharge of nitrates and other nutrients to groundwater, if any, occurs

    beneath the drainfield and results in a groundwater mixing zone or

    groundwater impacts within 300-500 feet of the drainfield. Septic systems

    can cause elevated nitrates in groundwater under specific conditions, such as

    housing densities less than 1.5 acres/house, locations with poor topsoil for

    secondary treatment, locations with bedrock aquifers of low permeability,




    6
        DAIRIES-00018575
    7
        DAIRIES-00012536


                                                                                         15
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    and locations with a shallow groundwater table (i.e., less than 4 feet below

    ground surface or “bgs”). These conditions do not exist in the vicinity of the

    DBD or SMD Dairy.

    26.     There are two main aquifer types in the area. The first is a surficial

    unconfined to semi-confined alluvial aquifer. This aquifer is composed of

    highly layered alluvial material with predominantly silt, sand and cobbles

    and, according to USGS, has a total thickness of up to 500 feet. The second

    aquifer is an extensive basalt aquifer of great thickness underlying the

    surficial aquifer described above. The basalt aquifer is believed by the

    USGS to be semi-isolated from the surficial aquifer and stream systems.

    Natural groundwater flow within the shallower, surficial aquifer generally

    follows topography, but may be locally influenced by irrigation practices,

    ponds, lagoons, drains, ditches, and canals.8 Groundwater in this shallower

    aquifer generally flows to the south or southwest, down the valley, and is

    used locally for residential drinking water supply and eventually feeds the

    Yakima River.9 Figure 2 provides groundwater contours in blue derived

    from the monitoring wells at the site and ground water flow direction arrows

    in orange.


    8
     EPA Report at 7.
    9
     Vaccaro, J.J., Jones, M.A., Ely, D.M., Key, M.E., Olsen, T.D., Welch, W.B., and Cox, S.E., 2009,
    Hydrogeologic Framework of the Yakima River Basin Aquifer System, Washington: U.S. Geological
    Survey Scientific Investigations Report 2009-5152, 106 p.


                                                                                                        16
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    27.        The Lower Yakima Valley is filled with sediments eroded from

    nearby highlands, such as the Rattlesnake Hills, and those deposited in the

    valley bottom by the Yakima River.10 The alluvial sediments were deposited

    by area rivers and streams and provide a preferential flowpath horizontally

    along the depositional direction (i.e., the permeability down the valley (Kx)

    is greater than the longitudinal permeability across the valley (Ky) and up to

    100 times greater than the vertical permeability (Kz), which is typical of

    most alluvial systems). This typically results in flow in perched aquifers,

    especially near lagoons and irrigation ditches, where water is introduced at

    the surface, infiltrates until reaching a less permeable layer, and flows

    horizontally until a conduit is found to allow the fluid to migrate vertically.

    Water wells drilled in this depositional environment can penetrate the

    perched layer and provide a conduit for contaminant migration into the water

    table aquifer. As a result, a well that is located along a preferential flow path

    may capture a substantial portion of its water from a particular surface

    source, whereas a neighboring well located along a different flow path may

    exhibit entirely different contaminant characteristics.

    28.        Shallower wells located in the Lower Yakima Valley are more likely

    to be contaminated with nitrates than deeper wells, because the sources of


    10
         Id.


                                                                                         17
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    the nitrogen loading to the groundwater are man-made and occur on the

    land’s surface. These activities include land-application of solid or liquid

    manure, transmission of liquids in contact with manure, application of

    chemical fertilizers, and storage of manure in unlined, earthen lagoons or

    composting areas. The EPA Report, along with other earlier studies,

    document more contaminated wells screened within the shallower aquifer

    than the deeper, basalt aquifer; in fact, the highest levels of nitrate generally

    occur in the shallow alluvial aquifer, especially in the upper portion of the

    alluvial aquifer.11

    29.         The shallow alluvial aquifer is the primary source of drinking water in

    the immediate area. Most houses in the area rely on this shallow

    groundwater source for drinking water supply.

    30.         Even the deeper aquifer, although believed by the USGS to be semi-

    isolated from the surficial aquifer, may be susceptible to impacts from the

    shallower aquifer when large scale pumping occurs in a preferential vertical

    flowpath. Appendix A of the EPA Report contains sample data collected

    from three wells completed in the deeper basalt aquifer (EPA Phase 3 well

    numbers WW-02, WW-07, and WW-09). Natural background nitrate

    concentrations are generally less than 2 ppm in groundwater (caused by


    11
         Id. at 8.


                                                                                            18
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    fixation of nitrogen gas in the atmosphere and by breakdown of organic

    matter).12

    31.     Manure contains two primary forms of nitrogen: ammonium and

    organic nitrogen. The organic form of nitrogen is nearly immobile;

    however, it becomes mobile, and available to crops as fertilizer, through

    mineralization. Mineralization is the process by which soil microbes

    decompose organic nitrogen into ammonium, which is then available as

    fertilizer for crops. By tilling manure into the subsurface to depths of 4-5

    feet, plant uptake is eliminated and mineralization results in elevated

    ammonium in the subsurface. The rate of mineralization varies with soil

    temperature, soil moisture, and the amount of oxygen in the soil. After

    mineralization, microorganisms within the soil convert ammonium into

    nitrate. This process, called nitrification, occurs most rapidly when the soil

    is warm, moist, and well-aerated. Nitrates are the most plant-available form

    of nitrogen for fertilization purposes, but as described above, are highly

    mobile and susceptible to leaching loss to groundwater, especially when

    tilled below the root zone or over applied to the fields and leached below the

    root zone.




    12
     U.S. Geological Survey Circular 1136 Nutrients in the Nation's Waters--Too Much of a Good Thing? By
    David K. Mueller and Dennis R. Helsel.


                                                                                                     19
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    32.        The predominant soils underlying and in the vicinity of the DBD and

    SMD dairies present little potential for any loss of nitrate through

    denitrification.13 Denitrification is the conversion of nitrate to nitrogen gas

    by bacteria under anaerobic conditions. It can only occur in poorly drained,

    anoxic conditions or organic soils where oxygen is depleted in the root zone.

    In the absence of denitrification, nitrate moves with the groundwater through

    natural processes until the groundwater is discharged to surface water, or

    extracted from a well. Zones of higher permeable sand and gravel in the

    subsurface provide ample oxygen to limit denitrification in this area. I am

    not aware of any data that shows significant denitrification is occurring

    beneath the DBD or SMD facilities.

    33.        Because denitrification is very limited in the soils underlying the DBD

    and SMD dairies, any excess nitrate located in the ground where no crops

    are located will continue to migrate downward with water movement,

    eventually reaching groundwater. Once in groundwater, the nitrate can either

    be removed via water supply wells, or it will continue to migrate with

    groundwater flow and discharge to surface water.

                                 DISCUSSION AND OPINIONS:

         DEFENDANTS’ MANURE STORAGE LAGOONS ARE A MAJOR
         SOURCE OF THE NITRATE CONTAMINATION OBSERVED IN

    13
         EPA Report, Appendix B at B-4.


                                                                                               20
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                               THE GROUNDWATER

    34.     Significant nitrate contamination exists in and around the Dairies, and

    such contamination is a result of the improper manure management practices

    of the Defendants. In particular, the contamination results in significant part

    from the fact that the DBD and SMD lagoons leaked up to 56,097,000

    gallons of manure each year when both Dairies were operating at or near

    capacity and presently leak approximately 8,943,000 gallons per year. On

    average, under typical operating conditions, the presently active lagoons at

    DBD and SMD most likely leak 28,500,000 gallons per year assuming they

    averaged half full over the one- year time period. In addition, the Dairies’

    applications fields, pens, silage areas and composting areas also release

    nitrate, as do the heifer pens. These conclusions and site-specific data

    supporting these conclusions are further described below. A summary of

    estimated seepage rates is provided in the following table.

          1. Significant Nitrate Contamination Exists in the Soil and

             Groundwater at DBD and SMD, Resulting in Part from Field

             Overapplication

    35.     There is significant nitrate contamination observed in the groundwater

    and soil found beneath and downgradient of the Dairies. This fact is evident

    from three investigations into the area’s contamination. First, WET



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    conducted a Rule 34 investigation on behalf of the Law Offices of Charles

    M. Tebbutt, P.C. between May 19 and May 21, 2020, where it collected

    groundwater samples from borings and soil samples from the application

    fields and compost area of DBD and the abandoned lagoons, compost area,

    pens and application fields at SMD. Figure 1 shows the sample locations

    where WET collected groundwater and/or soil samples. Second, Farallon

    conducted an investigation on June 29, 2021, from samples of ten

    monitoring wells at DBD and SMD, which it re-tested on November 21,

    2022. Farallon also tested soil samples from the borings that were converted

    to monitoring wells. The Farallon sample locations are also shown on Figure

    1. Third, Agrimanagement has performed a significant number of

    investigations involving collection and analysis of soil and groundwater

    samples; while I am not confident that Defendants have shared all of

    Agrimanagement’s data, the data that they have shared is consistent with the

    high concentrations observed by WET and Farallon. The Agrimanagement

    sample locations have not been supplied and, thus, are not shown on the

    figure.

              a. WET Investigation

    36.   The soil data from WET’s investigation are presented in Exhibit A,

    and the groundwater data are in Exhibit B. The data in Exhibit A are labeled



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    according to the application fields where the composite samples were

    collected. Each field was sampled across the complete area by dividing the

    field into 50-100 subareas and selecting up to 10 subareas randomly and

    sampling four or more locations. These locations were composited on 1-foot

    intervals and submitted to the laboratory for analysis. Knowledge of

    irrigation practices in the field was used to randomize the samples. In fields

    DBD-3C and 3B, since the crop was still growing, samples were collected

    along a thin strip that was mowed while WET was on-site.

    37.   The WET soil data generally shows overapplication of manure to the

    fields, with elevated nitrate and total nitrogen extending below the root zone

    in the field. For example, the sites DBD-1C-176 (44 mg/kg), DBD-2EB-139

    (45 mg/kg), SMD-01-176 (24 mg/kg), and SMD-FIELD01-32 (25 mg/kg)

    all show high concentrations of nitrates at a depth below five feet. In many

    cases, these elevated concentrations extend to groundwater, which is very

    shallow on these two facilities: around 10 feet on the northern fields and 3-5

    feet below ground surface on the southern SMD fields. These shallow depths

    contrast with the significantly deeper groundwater depths underneath the

    testing locations for Cow Palace and the “Cluster” Dairies, which were

    greater than 100 feet on the northern areas and around 30 feet in the southern

    fields. The close proximity between soil with elevated nitrate and



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    groundwater is direct evidence of groundwater contamination due to

    overapplication of manure.

    38.   Moreover, as mentioned above, because the soil at the Dairies permits

    very limited denitrification, we should also be concerned about nitrate

    concentrations even within the root zone. In fields where crops are planted

    every year and the field is tilled, the root zone may only be present in the top

    6” of soil. And, indeed, we observe extremely high levels of nitrate

    concentrations in that 1-foot zone. For example, we see 110 mg/kg within

    the first foot at DBD-1C-176, 86 mg/kg within the first foot at DBD-2EB-

    139, and 370 mg/kg within the first foot at DBD-3C-139.

    39.   More concerning, and direct evidence of nitrate leaching to

    groundwater, is the high concentration of nitrate throughout the soil column.

    DBD-3C shows concentration in the 170 to 240 mg/kg range all the way

    through the soil column.

    40.   The heifer pens south of SMD have been observed with ponded water

    on top of the manure multiple times over the last several years. Efforts to

    contour and slope the area have been made by the dairy, mainly by creating

    manure mounds in the pens. Infiltration of precipitation remains an issue

    resulting in soil and groundwater contamination beneath the heifer pens. Soil

    Samples SMD-H1 and SMD-H2 were collected in the pens; both samples



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    show infiltration of nitrate and ammonia through the soil column and into

    groundwater. Groundwater was encountered at the bottom of both sample

    cores. Based on sampling of mounds at other dairies, the mounds are also a

    likely continuing source of nitrogen loading to groundwater.




    41.   In areas where groundwater was encountered, WET collected a

    groundwater sample from the downgradient edge of the field. These

    samples are shown as the first four data points in Exhibit C.

    39.   These data provide a good example of the cumulative effects of

    overapplication. While the upper field shows concentrations of nitrate in

    groundwater from overapplication in the 5-7 mg/L range in addition to

    ammonia in the groundwater, the lower field shows concentrations as high



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    as 29.1 mg/l, or almost three times the maximum contaminant level

    standard. These data collected along groundwater flowpaths represent

    cumulative effects from a constant uniform nitrate load to groundwater as it

    flows under several fields. Overapplication at several fields results in

    increasing groundwater contaminant concentration along the groundwater

    flow direction. Simply, groundwater concentrations are only slightly

    impacted where groundwater enters the property from the North. By the time

    groundwater flows under the field, lagoons and source areas on DBD and

    SMD, groundwater is contaminated above drinking water standards,

    indicating that the operations at DBD and SMD are directly impacting

    groundwater quality under the Dairy property. Groundwater is severely

    impacted after flowing under the Dairies, and then flows off-site

    downgradient to impact other private properties and groundwater supply

    wells. Figure 2 shows these groundwater flowpaths across the Dairy and

    onto surrounding properties.

          b. Farallon Investigation

    42.   Farallon conducted an investigation of both groundwater and soil in

    June of 2021, which WET oversaw, and DBD re-tested the groundwater in

    November 2022. Farallon collected soil samples from monitoring well

    borings around the lagoons and the facility. Farallon’s soil data is in Exhibit



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    C, and the groundwater data is in Exhibit D.

    43.   In all drilling locations, ammonia, nitrate, and phosphorus were

    detected at depths below or adjacent to the lagoons or other manure sources.

    Groundwater samples from these monitoring wells show wells upgradient of

    the Dairy operations to be below drinking water standards (FWW-4 at 4.1

    mg/l and FWW-5 at 5.0 mg/l nitrate), while all other wells are above

    drinking water standards (12.1-210 mg/l nitrate). The only exception is

    FWW-6 at 5.4 mg/l.

    44.   Concerningly, as is clear from the empty entries in Farallon’s soil

    analyses in Exhibit C, we were not provided any data for FMW-03.

    However, one document Defendants produced for Daniel Chavarin’s

    deposition is a Farallon boring log (no Bates number) for that location,

    which indicates that samples at both five and fifteen feet were collected and

    analyzed. We hope to see those results before the close of discovery.

    45.   The groundwater data indicates the lagoons and other areas of the

    facility, including the southern heifer pens, are causing contamination of the

    groundwater and resulting in groundwater that is not safe for human

    consumption. With respect to DBD, based on the groundwater analytical

    results for FWW-1 and FWW-3, the lagoons at DBD are discharging manure

    waste directly to groundwater and with respect to SMD, based on the



                                                                                      27
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    groundwater analytical results for FWW-8 and FWW-9, the lagoons at SMD

    were discharging manure waste directly to groundwater. The presence of

    these concentrations of ammonia in groundwater indicates that the lagoon

    bottoms are in direct contact with groundwater (i.e. insufficient oxygen is

    present to convert the ammonia to nitrate, nitrification). Soil borings and

    monitoring wells completed in the historical footprint of the lagoons showed

    manure buried in the subsurface. The core photo below shows a manure

    layer on top of a grey stained saturated soil; the buried manure in the lagoon

    bottom causes anoxic conditions in the groundwater, resulting in ammonia in

    the shallow aquifer.




    46.   Because the lagoons were abandoned and the abandonment was


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    completed improperly by burying manure in contact with groundwater, these

    lagoons will continue to act as source areas for contaminants for decades in

    the future. The boring FWW-10 shows ammonia and nitrate in the soil and

    40 mg/l of nitrate in the groundwater beneath the heifer pens. The heifer

    pens are a continuing source of contaminants to groundwater in the area.

          c. Agrimanagement Testing

    47.     During discovery, Plaintiffs were provided with a number of results of

    various tests conducted by Agrimanagement that showed consistently high

    levels of nitrate and ammonium. For example, soil tests in May of 2022

    revealed nitrate levels at 130 and 190 for Fields 3 and 4 at DBD,

    respectively. Based on information from Agrimanangement, most fields

    have been overapplied in the past, and efforts to crop without any

    application are not lowering the soil concentration. This is an indication that

    the nutrients in the groundwater from overapplication in the field or from an

    upgradient field are high enough to sustain the crop requirements with no

    additional application.

    48.     To summarize this point, nitrate contamination from the Dairies has

    impacted the groundwater to a degree that the crops do not require

    application of nitrogen. The crop receives sufficient fertilizer from

    groundwater to sustain crop yields.



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          2. The Significant Nitrate Contamination Results in Part from Lagoon

            Leakage at DBD and SMD.

    49.     The high levels of nitrate contamination observed result in part

    because the lagoons at DBD and SMD leaked up to 56,097,000 gallons of

    manure per year when operating at full capacity, and presently leak

    approximately 12,092,000 gallons of manure per year, given that only DBD

    Lagoons 1 and 2 and SMD Lagoon 3 are presently operating. (However, as

    described below, this estimate for present leakage is conservative, because

    the decommissioned lagoons at SMD continue to leach.) The principle that

    governs fluid movement in lagoons and the subsurface is known as Darcy’s

    Law. It is the equation that describes how fluid moves through porous

    media. At its most basic level, Darcy’s Law is based on the fact that the

    amount of fluid movement between two points is directly related to the

    distance between the points, the pressure or head difference between them,

    and the permeability or the hydraulic conductivity of the media that the fluid

    moves through.

    50.     In equation form, Darcy’s Law is typically described as Q = KIA,

    where “Q” is equal to the discharge, or volume of liquid per time unit; “K” is

    hydraulic conductivity, or permeability; “A” is the cross-sectional area

    where flow occurs, and “I” is the hydraulic gradient, the change in hydraulic



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    head per unit distance. In the case of lagoons, the hydraulic gradient is

    equivalent to the lagoon liquid depth. With knowledge of a few basic

    hydraulic characteristics, this equation can be used to calculate seepage to an

    aquifer from a lagoon. Most importantly, the permeability of the lagoon, if

    designed per NRCS guidelines should be 1X10-6 cm/sec.

    51.   In the tables below, I use Darcy’s Law to calculate the seepage rates

    from each of the Dairies’ manure storage lagoons using either known values

    or conservative estimates. I arrived at the 56,097,094 gallons of manure per

    year figure for conditions when the lagoons were operating at full capacity,

    and 8,942,707 for present leakage at average capacity. Table 3 shows a

    typical leakage if the lagoons are assumed to be one half full during the year.

                       Table 1: Leakage at Maximum Capacity




                                                                                       31
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                            Table 2: Present Leakage




                           Table 3: Typical Annual Leakage




    52.   The graph below compares each of these estimates.



                                                                                    32
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    53.     For all lagoons calculations here, the permeability is assumed to be 1

    X 10-6 cm/s. None of the lagoons contains any type of geosynthetic liner;

    each was instead constructed into the ground using a native soil-lined bottom

    and no documentation on compaction. The Dairies’ Dairy Nutrient

    Management Plans claim that their lagoons comply with the Natural

    Resource Conservation Service (“NRCS”) 313 standards for manure storage

    impoundments,14 which is the aforementioned number assumed here. The

    NRCS standard requires waste storage impoundments to be located on soils

    that have a permeability “that meets all applicable regulation, or the pond




    14
      DAIRIES-00016419 at 8 (“All earthen storage structures were constructed according to NRCS standards
    and specifications”); DAIRIES-00001132 (“Three existing storage ponds and four settling basins built to
    NRCS standards and specifications provide temporary storage of liquid manure”).


                                                                                                        33
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    shall be lined.”15 As Judge Rice observed in the Cow Palace case, “Even

    assuming the lagoons were constructed pursuant to NRCS standards, these

    standards [which are not regulations] specifically allow for permeability, and

    thus, the lagoons are designed to leak.”16

    54.     Moreover, the use of that standard here is conservative or a low

    estimate for seepage. Notwithstanding the DNMP’s claims to be in

    compliance, assessments from Inland Earth Sciences found that some of the

    lagoons at both DBD and SMD did not meet the NRCS 313 standard. The

    March 5, 2019, DBD assessment17 found that, while Lagoons 4 and 5 were

    NRCS compliant, Lagoons 1, 2, and 3 were not. For both Lagoons 1 and 2,

    the embankment side slope of 4:1 differed from the NRCS 313 standard of

    5:1; in addition, the assessment noted “significant erosion of the interior

    slopes . . . around inlet structures.”18 For Lagoon 3, the assessment stated

    “compliance with the Liner type requirements could not be verified,” and

    that “erosion of the interior side slopes near inlet locations was noted.”19

    Similarly, the March 22, 2019, SMD assessment20 found that, while Lagoon

    3 was NRCS compliant, Lagoons 1 and 2 were not. For both, the assessment



    15
       WA313-3.
    16
       CARE, Inc. v. Cow Palace, LLC, 80 F. Supp. 3d 1180, 1223 (E.D. Wash. 2015).
    17
       DAIRIES-00000333
    18
       Id. at 2-3.
    19
       Id. at 3.
    20
       DAIRIES-00000563


                                                                                               34
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    noted the same issue with the embankment side slope ratio as noted for DBD

    Lagoons 1 and 2; the erosion of interior side slopes; and the fact that no

    design information regarding the liner was available.21 To date, we have no

    evidence that the Dairies ever addressed the issues identified in these

    assessments. In addition, I have inspected Lagoons 3, 4 & 5 at DBD on two

    occasions. Both times the lagoons were empty or near empty. All three

    lagoons have a significant portion of sand and gravel in the bottoms that

    would not meet the permeability requirement in the NRCS guidelines.

    Therefore, the 1 X 10-6 cm/s permeability number is a best-case scenario; in

    actuality, the permeability and, consequently, the manure leakage, could be

    significantly higher than the already-significant amounts stated in the Tables

    above.

    55.    The lagoon sizes were all derived from Google Earth, while the

    hydraulic gradient numbers were taken from the Inland Earth Sciences

    assessments for DBD22 and SMD.23 I will note that these numbers, again, are

    conservative; in particular, when I observed DBD Lagoons 4 & 5 after they

    were emptied and excavated, they appeared to be about 15 feet deep, not the

    10 and a half and 12-foot numbers reported.


    21
       Id. at 2.
    22
        DAIRIES-00000333
    23
        DAIRIES-00000563


                                                                                       35
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    56.     SMD Lagoons 2 and 3, as well as the Settling lanes and Nicholls Rd.

    lagoon, are now buried under natural soil. The investigation data, borings

    SMD-1, 2 &3, showed that the Dairy simply buried the manure and sludge

    in the bottom of the lagoons with soil, and that waste is now in contact with

    groundwater acting as a source of nitrate contamination. The detections of

    significant ammonia in the soil cores are also direct evidence of both the

    presence and decomposition of manure wastes in an anaerobic environment.

          3. The Dairies’ Pens, Composting Fields, and Silage Areas, as well as
                       the Heifer Pens, Also Release Contamination

    57.     Soil samples collected in the DBD compost area showed

    concentrations of Total Kjeldahl Nitrogen (TKN) and ammonia in the soils

    above thegroundwater zone (DBD-CA-139-01 and DBD-CA-176-02). The

    soil beneath the compost area appeared to have about 1 foot of compacted

    manure in the subsurface, as evidenced by the high concentration of TKN.

    The groundwater (DBD-CA-139-01 and DBD-CA-176-02) shows elevated

    concentration of nitrate in the groundwater samples.




                                                                                       36
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                         Image: Sampling at DBD Compost Area

    58.   Similarly, soil samples from the compost area at SMD (SMD-CA1)

    show high TKN into and below the water table and high nitrates changing to

    ammonia with depth. Both compost areas are source areas for groundwater

    contamination.




                                                                                      37
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           Image: Sample from DBD Compost area with 1’ of compacted manure




             Image: Leachate at SMD Compost Area seeping into the ground


                                                                                     38
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    59.    The sileage areas are mostly contained on concrete; however, during

    our inspections, leachate has been viewed seeping out of the silage piles onto

    bare ground. Past sampling of the silage leachate shows high concentration

    of nutrients, so the drainage in the silage area needs to be contained in the

    site wastewater system. Well FWW-1 has high nitrate concentration that

    may be influenced by silage seepage.

    60.   Two samples were collected in the heifer pens south of SMD with the

    Geoprobe. Continuous samples were collected to a depth of 10’ (SMD-H1

    and SMD-H2). Both sample cores were analyzed on 1-foot intervals. High

    TKN or manure content was detected in the first foot, with high nitrate or

    Ammonia detected throughout the soil column. These data, combined with

    Farallon’s well (FWW-10 at 40 mg/l nitrate in groundwater) show the

    migration path through the soil and the resulting groundwater contamination

    beneath the Heifer Pens.

    61.    I have reviewed some of the drinking water data from wells collected

    by the Clean Drinking Water Project (“CDWP”), which was set up through

    the Cluster Dairy Consent Decrees and other consent decrees between

    polluting dairies and the community group plaintiffs. The CDWP data show

    widespread manure contamination of the aquifer that is the primary drinking

    water source for thousands of homes in the Lower Yakima Valley. Nitrates



                                                                                       39
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    are the primary contaminant of concern tested by the CDWP. Wells in the

    vicinity of DBD and SMD have shown contamination above the 10 mg/L

    Safe Drinking Water Act standard, while others have shown the presence of

    nitrate above 2 mg/L. Generally speaking, nitrate contamination above 2

    mg/L is likely human caused. This information, summarized in the maps

    attached hereto. Some homes have tested above 100 mg/L for nitrate, which

    is an alarmingly high number. This information further supports my

    conclusions that DBD and SMD are contributing to the nitrate contamination

    of the overall area as are other dairies in the area. Due to confidentiality

    agreements between the CDWP and some of the residents, all specific

    locations are not available. But the detections in the general locations do

    provide further support for the fact that nitrates are moving off the DBD and




                                                                                        40
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    SMD operations.




                       Image: Clean Drinking Water Project Results

    62.   I have also reviewed pictures and a request for enforcement from

    Department of Ecology related to applications of manure by DBD on fields

    near the Wassemiller residence. These types of applications, apparently

    performed by DBD employees and done without regard for nutrient needs as

    discussed in the Ecology report, are the type of applications that cause

    cumulative impacts to the groundwater relied upon by the surrounding



                                                                                       41
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    community.

    63.    Finally, I’ll note that I was alarmed by the deposition testimony of

    Karina Chavarin, an employee at DBD, when she indicated that she had not

    tested the well water at her residence directly adjacent to the DBD facility,24

    nor did she appear interested in getting a free test,25 despite the fact that she

    has children.26 It is extremely important that residents understand the

    substantial health risks that the contaminants released by these facilities pose

    to them; the fact that a key employee of the facility was unaware is not

    indicative of a company culture that safeguards its stakeholders against the

    health and environmental risks it creates.

      THE DAIRIES SHOULD BE REQUIRED TO TAKE REMEDIAL
     STEPS TO RECTIFY THE NITRATE CONTAMINATION OF THE
                        GROUNDWATER

    64.    I have concluded that the Dairies’ lagoons, as well as DBD’s

    applications fields and composting areas and SMD’s applications fields,

    composting areas, and pens are substantial sources of nitrate loading to

    groundwater. These facilities are typical of 1940-1960 era chemical

    manufacturing and industrial operations. In that era, it was believed that

    discharge to the ground made the problem disappear. Now, with both


    24
       K. Chavarin Dep. 72:18-19.
    25
       Id. 75:24-25.
    26
       Id. 74:17-18.


                                                                                         42
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    RCRA and CERCLA investigations, we know that these operations caused

    significant contamination of soil, groundwater and surface water.

    65.   During my career, I have worked on numerous facilities that have

    mishandled their waste or failed to recognize the potential impacts from not

    preventing spills and leaks from entering the subsurface. This facility is

    handling their waste in a manner that causes impacts to soil, groundwater

    and surface water both from nutrients and potentially from livestock

    antibiotics and hormones.

    66.   As I indicated earlier, I am familiar with the RCRA remedial

    investigation and feasibility study (RI/FS) regulations. I have conducted

    RI/FS investigations previously in my career, one for a packing plant and

    one for a dry-cleaning operation. I have completed many other projects

    under RCRA regulation, such as Underground Storage Tank and Landfill

    investigations and remediation. The type of investigation that should be done

    at DBD and SMD should be similarly robust, planned, thorough and

    supervised by a third party.

    67.   We already know, however, that numerous actions should be taken

    promptly while a full investigation of the loading contributions are properly

    assessed in parallel (Interim Corrective Measures). In order to rectify the

    current contaminant issues, the Dairies should be required to synthetically



                                                                                        43
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    line all of their liquid storage lagoons using proper compaction techniques

    and current state of the industry liner construction quality assurance/quality

    control (QA/QC). Based on the calculations conducted above, these storage

    facilities discharge substantial amounts of liquid manure and its constituents,

    such as nitrate, ammonium, and phosphorus, into the soil, and directly into

    groundwater at some of these lagoons. This contamination eventually

    migrates off site onto other private properties

    68.    The Washington NRCS 313 standard specifically recognizes that

    synthetically lined lagoons may be necessary where a lagoon is situated over

    a domestic water supply aquifer.27 An HDPE double-lined lagoon should be

    constructed according to RCRA landfill requirements cited in 40 C.F.R. §

    264.301, but must include a protective soil layer on top of the liner to

    prevent puncture while cleaning or manually pumping to a haul truck. The

    double-lined lagoon provides both a higher level of protection than a single

    liner and leak detection, should a release occur. In addition, a leak detection

    system should be put into place between the synthetic liners, ensuring that

    the Dairies would be alerted if there were some issues with the integrity of

    the uppermost liner. This allows the operator to recognize a leak, stop the



    27
      Natural Resources Conservation Service, Conservation Practice Standard No. 313
    (Waste Storage Facility) at 313-8, December 2004.


                                                                                         44
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    release and immediately fix the leak without a release to the subsurface.

    69.   After five years of operation, a leak has recently occurred at the first

    lagoon lined at Cow Palace. The engineered system performed exactly as

    designed and dispelled all previous concerns lodged by the Dairies. The

    inspector visited the lagoon, and there was manure liquid in the leak

    detection sump. The system was in alarm mode and was pumping the liquid

    out from between the primary and secondary liner. The leak was easily

    located at the top of the liquid manure level as a separation of welds around

    the overflow pipe. While the primary liner leaked, the secondary liner

    prevented a release to the environment. A simple repair around the leak

    location can be completed by the lining subcontractor. With the designed

    gas venting system, the leaked manure will not cause any further

    compromise of the primary liner.

    70.   Double-lined waste storage or treatment ponds are the current state of

    the industry for waste handling operations. I have worked with facilities that

    have both liquid waste handling and solid waste handling operations on

    double lined systems.

    71.   The Dairies could greatly reduce the discharge by lining the lagoons

    that have liquids present during the longest period and continue to line these

    facilities until the waste handling portion is addressed. This should include



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    an assessment of the liquids handling conveyance infrastructure

    (underground piping).

    72.   Second, the Dairies should be required to compost only on lined

    impermeable pads that collect the leachate generated by the composting

    operation. When manure is hauled to the composting area, it typically

    contains more than 50% liquid. This liquid drains from the manure onto the

    ground and leached into the subsurface, causing soil and groundwater

    contamination, especially with the shallow groundwater present at both sites.

    No crop exists on the composting are to beneficially use the nutrients that

    have leached into the subsurface.

    73.   The leachate could be used to maintain the proper moisture content

    for composting, but should not be allowed to enter the subsurface.

    Commercial compost operations are required to conduct composting and

    compost handling on concrete surfaces with storm water collection systems.

    They are also required to maintain the integrity of the concrete through

    routine crack and joint sealing. The compost area at DBD is very flat and

    seepage will always be an issue without an impermeable liner under the

    compost.

    74.   Furthermore, the Dairies should be required to provide to Plaintiffs all

    construction plans and specifications for review and approval prior to



                                                                                       46
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    construction. The Dairies should also provide all construction QA/QC

    testing results to Plaintiffs along with access during construction so

    independent, third-party QA/QC testing may be conducted.

    75.   Finally, the Dairies must control water balance issues and use

    irrigation practices that actually follow a realistic nutrient management plan.

    Data from the application fields clearly show that nutrients are over-applied

    and have migrated deeper than any possible plant uptake. As a result, large

    areas contribute high nitrate concentration to the groundwater and recent

    studies show that other compounds, such as livestock antibiotics and

    hormones can be sourced to groundwater from application fields.

    76.   In addition, given one of the questionable actions taken by this

    operator/owner, independent inspection and enforcement must be provided

    to ensure the actions are completed to current construction and construction

    quality assurance standards. All construction, investigation and remediation

    activities at the DBD and SMD operation should require independent third-

    party oversight. Every time I have inspected the facility, the current

    operator has completed projects incorrectly and without oversight. After the

    first visit, Lagoons 2, 3, the settling lanes, and the Nichols Road lagoon were

    abandoned improperly (i.e., the lagoon sludges and manure were buried

    under fill). The next visit Lagoons 2 and 3 were excavated; however, the



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    soil remaining was still stained with manure because it could not be

    removed, due to the fact that it was in groundwater.

    77.   In conclusion, the Dairies are a significant source of nutrients in the

    area (along with Cow Palace and the “Cluster” Dairies). Given the current

    waste handling practices and the volume of liquid and solid waste generated

    by these facilities and the preliminary investigation data generated, to

    conclude that nitrate impacts to groundwater are caused by some other

    source, such as the few residential septic systems in the area, is

    irresponsible.



    Dated: March 10, 2023




                                                 ______________________________
                                                 David J. Erickson PG CPG
                                                 Principal/Founder
                                                 Water & Environmental,
                                                 Technologies, PC




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 Figures




                               Erickson Declaration - Exhibit 3
                                                                                       Case 1:19-cv-03110-TOR                                ECF No. 190-2                    filed 10/25/23                 PageID.3097 Page 70 of 85
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     Yakima county Monitoring Well
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                                         WET Groundwater Sampling Location
                                                                                              Snipes Mountain Dairy
                                                                                              DeRuyter Brothers Dairy                                       Erickson Declaration - Exhibit 3
                                                                                                                                                                                                                               .                                Feet
                                                                                                                                                                                                                                                                       Job#: CAFOM010

                                                                                                                                                                                                                                                                       Date: 5/24/2022
                                                                                                                                                                                                                                                                                                  Majestic Farms Dairy
                                                                                                                                                                                                                                                                                               Yakima County, Washington

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                                                  Case 1:19-cv-03110-TOR     ECF No. 190-2                  filed 10/25/23            PageID.3098 Page 71 of 85




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                                                                                                                                                                                                     GROUNDWATER CONTOUR MAP




                                                                                                                                                                                                                                                                                                            Path: M:\CAFO\CAFOM10\2023\GWE_Map\GWE_Map.aprx, Author: jleprowse
                                                                                                                                                                                                                                                      YAKIMA COUNTY, WASHINGTON
                                                                                                                                                                                                                               MAJESTIC FARMS DAIRY
                                                                                                            780




                                                                                                                                                                                                                                                                                            DATE:3/9/2023
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                                                                                                                                                                  P Soil Boring Location
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                                     Feet                                                                                                                             DeRuyter Brothers Dairy
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                                                                                          Erickson Declaration - Exhibit 3
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                          Exhibit A – WET Soil Data




                               Erickson Declaration - Exhibit 3
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Soil Analytical Results
                                                                                                                                                                                                                                       Nitrogen,                  Ammonia as
                                                                                                                                pH, sat.        Calcium,      Magnesium,       Potassium,     Sodium,      Organic       Lime as                    Phosphorus,              Nitrate as N, Nitrite as N,
                                   Depth (ft bgs)                                             Sand     Silt   Clay   Texture                                                                                                            Kjeldahl,                   N, KCL
                                                                                                                                 paste         Extractable    Extractable      Extractable   Extractable   Matter        CaCO3                         Olsen                 KCL Extract KCL Extract
         Station ID                                        Date     Time     Sample type                                                                                                                                               Total as N                   Extract
                                                                                                                                                meq             meq             meq           meq                                                                                 mg
                                 Start        End                                               %       %      %       --       s.u.       Q             Q                Q             Q             Q     %        Q    %        Q   mg/kg    Q    mg/kg   Q     mg/kg   Q              Q    mg/kg   Q
                                                                                                                                               /100g           /100g           /100g         /100g                                                                              /kg-dry
                                   0           1        5/21/2020   09:35                      36      47     17        L       7.5             18.3     J         3.59   J+    1.64    J    0.223    J+   3.3           2.91          1920     J    220      J     26     J+    7.2      J+    <1     J
                                   1           2        5/21/2020   09:37                      34      50     16       SiL      7.6             16.1     J         4.58   J+    2.09    J    0.360    J+   2.4           2.74          1670     J    210      J     32     J+    3.7      J+    <1     J
                                   2           3        5/21/2020   09:39                      22      66     12       SiL      8.1             15.2     J         4.71   J+    4.11    J    0.371    J+   0.5           2.15          364      J     61      J     31     J+    1.4      J+    <1     J
     DBD-1B-DISCRETE               3           4        5/21/2020   09:41                      34      57      9       SiL      8.3             17.3     J         3.77   J+    4.40    J    0.277    J+   <0.2          2.58          145      J     27      J    15.3     J    1.7      J+    <1     J
                                   4           5        5/21/2020   09:43                      20      67     13       SiL      8.4             19.4     J         4.34   J+    2.41    J    0.421    J+    0.2          4.21           137     J     17      J     8.0    J+    3.8      J+    <1     J
                                   5          7.5       5/21/2020   09:45                      12      76     12       SiL      8.3             19.7     J         5.52   J+   0.447    J    0.590    J+   0.2           7.11           161     J      3      J    17.1     J    2.7      J+    <1     J
                                  7.5         10        5/21/2020   09:47                       -       -      -        -        -               -                   -            -             -            -             -           106      J      2      J     8.4    J+    4.0      J+    <1     J
                                   0           1        5/19/2020   11:30                      34      50     16       SiL      8.0             17.3     J         4.92    J    3.08    J     1.87    J    3.1           4.62          1970     J    390      J     7.3    J+    110       J    <1     J
                                   1           2        5/19/2020   11:31                      38      49     13        L       8.1             16.7     J         4.41    J    3.61    J    1.79     J    1.2           4.50          659      J    170      J     6.3    J+    61        J    <1     J
                                   2           3        5/19/2020   11:32                      34      57      9       SiL      8.2             16.8     J         4.07    J    3.09    J    1.63     J    0.3           5.01          201      J    22       J    7.9     J+    34        J    <1     J
                                   3           4        5/19/2020   11:34                      28      62     10       SiL      8.1             17.0     J         3.86   J+    2.26    J    1.58     J    0.4           5.00          291      J    37       J    6.0     J+    72        J    <1     J
                                   4           5        5/19/2020   11:35                      32      60      8       SiL      8.1             16.7     J         3.46   J+    2.16    J    1.39     J    <0.2          3.73           128     J     11      J     7.9    J+     74       J    <1     J
        DBD-1C-176
                                   5           6        5/19/2020   11:33                      32      60      8       SiL      8.2             14.9     J         3.28   J+    2.50    J     1.12    J    <0.2          3.02            67     J      3      J     5.3    J+     44       J    <1     J
                                   6           7        5/19/2020   11:36                      36      56      8       SiL      8.2             15.7     J         3.37   J+    2.03    J     1.24    J    <0.2          3.35            56     J      3      J     5.7    J+    31        J    <1     J
                                   7           8        5/19/2020   11:37                       -       -      -        -        -               -                   -            -             -            -             -             47     J     2       J    4.4     J+    37        J    <1     J
                                   8           9        5/19/2020   11:38                       -       -      -        -        -               -                   -            -             -            -             -             62     J     2       J    4.7     J+    46        J    <1     J
                                   9          10        5/19/2020   11:39                       -       -      -        -        -               -                   -            -             -            -             -             49     J      2      J     5.2    J+    38        J    <1     J
                                   0           1        5/19/2020   13:30                      50      36     14        L       8.2             14.0      J        4.74    J    3.97     J    2.33     J   2.4           3.32          1440     J    310      J     4.2    J+    86        J    <1     J
                                   1           2        5/19/2020   13:31                      36      52     12       SiL      8.3             16.6      J        5.33    J    2.85     J   2.98      J   0.8           6.21          742      J    130      J    4.6     J+    82        J    <1     J
                                   2           3        5/19/2020   13:32                      30      60     10       SiL      8.3             17.2      J        5.47    J    1.09     J   3.16      J   0.2           6.62          133      J     7       J    3.7     J+    68        J    <1     J
                                                        5/19/2020   13:33       Natural        24      70     6        SiL      8.2             16.4      J        5.38    J   0.509     J   2.91      J   <0.2          5.29            83     J     2       J    5.4     J+    56        J    <1     J
                                   3           4
                                                        5/19/2020   13:34      Duplicate       20      74     6        SiL      8.3             17.9     J+        6.02    J   0.596    J+   2.95     J+   0.2           4.90            85     J      3      J     4.2    J+     64       J    <1     J
       DBD-2EB-139                 4           5        5/19/2020   13:35                      38      56      6       SiL      8.2             14.9      J        4.02    J   0.508     J    2.44     J   <0.2          3.44            34     J      2      J     5.3    J+    54        J    <1     J
                                   5           6        5/19/2020   13:36                      44      49      7        L       8.0             13.8      J        3.20   J+   0.535     J   2.20      J   <0.2          2.67          <30      J     3       J    4.9     J+    45        J    <1     J
                                   6           7        5/19/2020   13:37                      34      58      8       SiL      8.0             15.8      J        3.32   J+   0.655     J   2.04      J   <0.2          3.05            31     J     2       J    3.1     J+    35        J    <1     J
                                   7           8        5/19/2020   13:38                      38      54     8        SiL      7.9             17.4      J        3.72   J+   0.703     J   2.02      J   0.2           2.94            36     J     2       J    3.5     J+    38        J    <1     J
                                   8           9        5/19/2020   13:39                       -       -      -        -        -               -                   -            -             -            -             -            <30     J      2      J     3.9    J+    32        J    <1     J
                                   9           10       5/19/2020   13:40                       -       -      -        -        -               -                   -            -             -            -             -           <30      J      2      J     4.3    J+    29        J    <1     J
                                   0           1        5/20/2020   17:19                      34      51     15       SiL      8.1             17.0     J         4.61    J    3.45    J     2.06    J    2.4           4.30          1630     J    310      J     6.6    J+    110       J    <1     J
                                   1           2        5/20/2020   17:21                      32      58     10       SiL      8.2             17.7     J         4.61    J    2.72    J     2.17    J    0.8           5.53           495     J     99      J     2.7    J+    83        J    <1     J
        DBD-3B-176                 2           3        5/20/2020   17:23                      48      46      6       SL       8.2             16.9     J         4.10    J    1.17    J    1.74     J    <0.2          3.77            69     J     3       J    3.4     J+    57        J    <1     J
                                   3           4        5/20/2020   17:24                      34      58      8       SiL      8.3             17.7     J         3.98   J+   0.482    J    1.48     J    <0.2          3.67          <30      J     1       J    2.3     J+    63        J    <1     J
                                   4           5        5/20/2020   17:25                      40      52      8       SiL      8.2             18.2     J         4.16   J+   0.432    J     1.40    J    0.2           3.38            67     J      2      J     3.9    J+    59        J    <1     J
                                   0           1        5/21/2020   11:30                      30      55     15       SiL      7.9             17.6     J         6.14   J+    5.74    J     3.42    J     2.5          4.34          1930     J    420      J     3.9    J+    370       J    <1     J
                                   1           2        5/21/2020   11:32                      24      62     14       SiL      7.9             17.6     J         5.44   J+    5.27    J     3.28    J     1.1          4.29           892     J    200      J     5.9    J+    310       J    <1     J
        DBD-3C-139                 2            3       5/21/2020   11:33                      26      62     12       SiL      7.9             19.7     J         5.46   J+    3.39    J     2.94    J     0.3          5.45           277     J     13      J     5.5    J+    230       J    <1     J
                                   3            4       5/21/2020   11:35                      28      60     12       SiL      7.8             19.6     J         5.25   J+    1.68    J     2.46    J     0.2          4.08           201     J      1      J     6.9    J+    240       J    <1     J
                                   4           5        5/21/2020   11:37                      34      56     10       SiL      7.8             18.1     J         4.40   J+   0.802    J     2.33    J    <0.2          3.42            90     J      2      J     6.1    J+    170       J    <1     J

  < indicates below detection                                               Si indicates silt
  - indicates the sample was not analyzed for this constituent              S indicates sand
    mg/kg indicates milligram per kilogram                                  L indicates loam
    s.u. indicates standard units                                           SiL indicates silty loam
    meq/100 g indicates milliequivalents per 100 grams                      SL indicates sandy loam

   Q - Data validation qualifier
                          J      Estimated
                          J+ Overestimated
                         UJ Estimated Non-Detect
                         J-      Underestimated
                         R       Unusable




                                                                                                                                Erickson Declaration - Exhibit 3
                                                                                     Case 1:19-cv-03110-TOR                 ECF No. 190-2              filed 10/25/23          PageID.3101 Page 74 of 85
Soil Analytical Results
                                                                                                                                                                                                                                       Nitrogen,                  Ammonia as
                                                                                                                                pH, sat.        Calcium,      Magnesium,       Potassium,     Sodium,      Organic       Lime as                    Phosphorus,              Nitrate as N, Nitrite as N,
                                   Depth (ft bgs)                                             Sand     Silt   Clay   Texture                                                                                                            Kjeldahl,                   N, KCL
                                                                                                                                 paste         Extractable    Extractable      Extractable   Extractable   Matter        CaCO3                         Olsen                 KCL Extract KCL Extract
         Station ID                                        Date     Time     Sample type                                                                                                                                               Total as N                   Extract
                                                                                                                                                meq             meq             meq           meq                                                                                 mg
                                 Start        End                                               %       %      %       --       s.u.       Q             Q                Q             Q             Q     %        Q    %        Q   mg/kg    Q    mg/kg   Q     mg/kg   Q              Q    mg/kg   Q
                                                                                                                                               /100g           /100g           /100g         /100g                                                                              /kg-dry
                                    0           1       5/19/2020   09:14                      42      44     14        L       8.3             15.1     J         4.75   J+    6.70    J     1.58     J    2.4          4.31          1130     J    160      J     22     J+    1.6      J+    <1      J
                                    1           2       5/19/2020   09:17                      40      50     10       SiL      8.2             16.8     J         3.68   J+    1.10    J    0.792    J+    0.2          4.62           104     J      3      J    16.4     J    <1.0      J    <1      J
                                    2           3       5/19/2020   09:24                      32      60      8       SiL      8.2             17.8     J         4.03   J+   0.627    J    0.774    J+    0.2          4.33           <30     J      2      J     7.3    J+    1.6      J+    <1      J
      DBD-CA-139-01
                                    3           5       5/19/2020   09:28                      32      61      7       SiL      8.2             18.0     J         4.00   J+   0.629    J    0.690    J+   <0.2          4.48           <30     J      2      J     7.1    J+    2.4      J+    <1      J
                                    5          7.5      5/19/2020   09:34                      36      57      7       SiL      8.2             18.5     J         3.86   J+   0.619    J    0.470    J+   <0.2          3.88           <30     J      2      J     7.5    J+    2.6      J+    <1      J
                                   7.5         10       5/19/2020   09:40                      38      53      9       SiL      8.2             19.1     J         3.91   J+   0.694    J    0.517    J+   <0.2          3.82           <30     J      2      J     8.6    J+    2.6      J+    <1      J
                                    0           1       5/20/2020   11:01                      40      46     14        L       8.5             11.1     J         5.63    J    10.8    J     4.62     J   4.1           3.13          2080     J    210      J    12.6    J+     41       J     4     J+
                                    1           2       5/20/2020   11:03                      60      28     12       SL       8.0             7.23     J         3.14   J+    3.33    J     1.18     J   0.4           1.56          177      J    31       J     30      J    1.7      J+    <1      J
                                    2           3       5/20/2020   11:05                      40      48     12        L       7.8             17.8     J         3.63   J+   0.954    J     1.06     J   0.4           4.50          175      J     4       J    7.1     J+    <1.0      J    <1      J
                                    3           5       5/20/2020   11:07                      24      68     8        SiL      7.8             18.8     J         3.93   J+   0.373    J     1.05     J   0.3           4.13            87     J     2       J    4.5     J+    1.5      J+    <1      J
                                    5          7.5      5/20/2020   11:09                      30      63     7        SiL      8.0             16.9     J         3.81   J+   0.370    J    0.909     J   <0.2          3.85           <30     J      2      J     7.4    J+    2.5      J+    <1      J
      DBD-CA-176-02
                                   7.5         10       5/20/2020   11:11                      28      64      8       SiL      8.0             17.5     J         4.70   J+   0.474    J    0.905     J   <0.2          3.62           <30     J      2      J     9.5    J+    2.5      J+    <1      J
                                   10         12.5      5/20/2020   11:13                       -       -      -        -        -                -                  -            -             -            -             -           <30      J     2       J    12.9    J+    2.7      J+    <1      J
                                  12.5         15       5/20/2020   11:15                       -       -      -        -        -                -                  -            -             -            -             -           <30      J     2       J    9.7     J+    2.4      J+    <1      J
                                   15         17.5      5/20/2020   11:18                       -       -      -        -        -                -                  -            -             -            -             -           <30      J     2       J    7.9     J+    2.7      J+    <1      J
                                  17.5         20       5/20/2020   11:20                       -       -      -        -        -                -                  -            -             -            -             -            <30     J     5       J     8.7    J+    4.7      J+    <1      J
                                    0           1       5/19/2020   15:45                      32      53     15       SiL      8.0             19.3     J+        5.50    J    4.26    J+    1.09    J+    2.6          4.21          1550     J    270      J     7.5    J+     45       J    <1      J
                                    1           2       5/19/2020   15:46                      30      58     12       SiL      8.1             19.2     J+        5.26    J    3.32    J+    1.07    J+    1.3          3.94           872     J    150      J     5.6    J+     48       J    <1      J
                                    2           3       5/19/2020   15:47                      22      70      8       SiL      8.0             19.6     J+        4.90    J    1.53    J+   0.922    J+   0.2           3.76           169     J     18      J     3.0    J+     30       J    <1      J
                                    3           4       5/19/2020   15:48                      26      66      8       SiL      8.0             19.9     J+        4.88    J   0.523    J+    1.08    J+   0.2           4.62            71     J     7       J     3.5    J+     33       J    <1      J
                                    4           5       5/19/2020   15:49                      28      64      8       SiL      8.1             19.6     J+        4.62    J   0.458    J+    1.18    J+   0.2           4.55            74     J      3      J     5.3    J+     42       J    <1      J
        SMD-01-176
                                    5           6       5/19/2020   15:50                      32      60      8       SiL      8.0             18.9     J+        3.86   J+   0.517    J+   0.970    J+   <0.2          3.45            57     J     2       J     6.9    J+     24      J+    <1      J
                                    6           7       5/19/2020   15:51                      36      57      7       SiL      8.1             18.2     J+        3.63   J+   0.584    J+    1.13    J+   <0.2          3.31            33     J     2       J     7.1    J+     20      J+    <1      J
                                    7           8       5/19/2020   15:52                      42      51      7       SiL      7.9             18.0     J+        3.17   J+   0.613    J+    1.09    J+   <0.2          2.98          <30      J     2       J     5.0    J+     25      J+    <1      J
                                    8           9       5/19/2020   15:53                      36      56      8       SiL      7.9             20.8     J+        3.04   J+   0.693    J+    1.14    J+   0.2           3.93            38     J     2       J     4.8    J+     23      J+    <1      J
                                    9          10       5/19/2020   15:54                       -       -      -        -        -                -                  -            -             -            -             -             33     J     2       J     5.0    J+     24      J+    <1      J
                                    0           1       5/20/2020   16:14                      26      60     14       SiL      8.2             17.2     J         5.08    J    6.68    J    0.873     J    3.3          6.66          1920     J    280      J     5.4    J+     11      J+    <1      J
                                    1           2       5/20/2020   16:15                      28      60     12       SiL      8.1             17.7     J         4.06    J    5.93    J    0.895     J   1.9           6.42          1220     J    150      J     7.3    J+     15      J+    <1      J
                                                        5/20/2020   16:16       Natural        38      54     8        SiL      8.4             17.1     J         3.58   J+    4.43    J    0.787    J+   <0.2          5.23          166      J    22       J    13.6    J+    6.7      J+    <1      J
        SMD-03-139                 2           3
                                                        5/20/2020   16:19      Duplicate       40      51     9        SiL      8.4             17.2     J         3.65   J+    4.28    J    0.757    J+   0.2           5.87          163      J    24       J     9.4    J+    6.9      J+    <1      J
                                   3           4        5/20/2020   16:17                      48      46      6       SL       8.4             13.6     J         2.82   J+    3.26    J    0.477    J+   <0.2          3.06            32     J      7      J     6.7    J+    3.3      J+    <1      J
                                   4           5        5/20/2020   16:18                      62      31      7       SL       8.3             14.8     J         2.95   J+    2.47    J    0.454    J+   <0.2          2.91           <30     J      3      J     7.9    J+    3.2      J+    <1      J
                                   0           1        5/21/2020   08:42                      44      42     14        L       8.0             19.6     J         2.31   J+    1.92    J    0.205    J+    1.7          4.69          1100     J    140      J    16.6     J    2.6      J+    <1      J
                                   1           2        5/21/2020   08:44                      44      47      9        L       8.2             19.1     J         2.91   J+    1.98    J    0.239    J+   0.5           4.90           233     J     71      J    18.6     J    1.4      J+    <1      J
                                   2           3        5/21/2020   08:46                      34      58      8       SiL      8.4             18.6     J         3.46   J+    2.74    J    0.228    J+   <0.2          4.03            92     J     9       J    14.1    J+    2.4      J+    <1      J
        SMD-05-01
                                   3           5        5/21/2020   08:48                      48      44      8        L       8.4             17.2     J         3.48   J+    4.25    J    0.214    J+   <0.2          4.27            42     J     3       J     7.2    J+    3.0      J+    <1      J
                                   5          7.5       5/21/2020   08:50                      58      35      7       SL       8.3             15.4     J         3.19   J+    5.08    J    0.238    J+   <0.2          3.23           <30     J      2      J     4.5    J+    6.1      J+    <1      J
                                  7.5         10        5/21/2020   08:52                       -       -      -        -        -                -                  -            -             -            -             -             38     J     1       J     5.9    J+    7.8      J+    <1      J

  < indicates below detection                                               Si indicates silt
  - indicates the sample was not analyzed for this constituent              S indicates sand
    mg/kg indicates milligram per kilogram                                  L indicates loam
    s.u. indicates standard units                                           SiL indicates silty loam
    meq/100 g indicates milliequivalents per 100 grams                      SL indicates sandy loam

   Q - Data validation qualifier
                          J      Estimated
                          J+ Overestimated
                         UJ Estimated Non-Detect
                         J-      Underestimated
                         R       Unusable




                                                                                                                                Erickson Declaration - Exhibit 3
                                                                                     Case 1:19-cv-03110-TOR                 ECF No. 190-2              filed 10/25/23          PageID.3102 Page 75 of 85
Soil Analytical Results
                                                                                                                                                                                                                                       Nitrogen,                  Ammonia as
                                                                                                                                pH, sat.        Calcium,      Magnesium,       Potassium,     Sodium,      Organic       Lime as                    Phosphorus,              Nitrate as N, Nitrite as N,
                                   Depth (ft bgs)                                             Sand     Silt   Clay   Texture                                                                                                            Kjeldahl,                   N, KCL
                                                                                                                                 paste         Extractable    Extractable      Extractable   Extractable   Matter        CaCO3                         Olsen                 KCL Extract KCL Extract
         Station ID                                        Date     Time     Sample type                                                                                                                                               Total as N                   Extract
                                                                                                                                                meq             meq             meq           meq                                                                                 mg
                                 Start        End                                               %       %      %       --       s.u.       Q             Q                Q             Q             Q     %        Q    %        Q   mg/kg    Q    mg/kg   Q     mg/kg   Q              Q    mg/kg   Q
                                                                                                                                               /100g           /100g           /100g         /100g                                                                              /kg-dry
                                   0          3.8       5/20/2020   13:25                      50      41      9        L       8.6             13.2     J         3.37   J+    9.91    J     2.62    J     0.5          5.54           387     J     43      J     2.5    J+    140       J    <1      J
         SMD-CA1                  3.8         5.3       5/20/2020   13:30                      48      44      8        L       7.9             14.1     J         4.80    J    1.80    J     1.78    J    <0.2          3.09           <30     J      2      J    11.8    J+    2.1      J+    <1      J
                                  5.3          9        5/20/2020   13:35                       -       -      -        -        -                -                  -            -             -            -             -           <30      J     2       J     4.6    J+     15      J+    <1      J
                                   0           1        5/19/2020   17:30                      24      56     20       SiL      8.0             20.9     J+        7.49    J    5.05    J+    2.99    J+    2.6          3.64           625     J    270      J     4.7    J+     82       J    <1      J
                                   1           2        5/19/2020   17:32                      24      60     16       SiL      7.9             21.8     J+        6.31    J    2.29    J+    2.60    J+    0.8          3.38          1570     J     83      J     3.6    J+     35       J    <1      J
                                   2           3        5/19/2020   17:34                      16      71     13       SiL      7.9             23.1     J+        5.17    J   0.401    J+    3.07    J+   0.4           7.27           173     J      6      J     3.8    J+     36       J    <1      J
                                   3           4        5/19/2020   17:36                      18      68     14       SiL      7.8             27.1     J+        5.55    J   0.297    J+    3.22    J+   0.2           4.40           176     J      3      J     4.7    J+     32       J    <1      J
                                   4           5        5/19/2020   17:38                      26      64     10       SiL      7.8             22.7     J+        4.84    J   0.412    J+    2.94    J+   0.2           3.37           111     J      3      J     4.5    J+     29      J+    <1      J
     SMD-FIELD01-32                                     5/19/2020   17:40       Natural        24      66     10       SiL      7.9             18.4     J+        3.69   J+   0.538    J+    2.59    J+   0.2           2.57            78     J      4      J     5.0    J+     16      J+    <1      J
                                   5           6
                                                        5/19/2020   18:09      Duplicate       42      51      7       SiL      8.0             13.1     J+        2.91   J+   0.514    J+    1.82    J+   <0.2          2.04            26     J     3       J     5.9    J+     25      J+    <1      J
                                   6           7        5/19/2020   17:42                      30      61     9        SiL      7.9             14.8     J+        3.03   J+   0.559    J+   2.06     J+   <0.2          2.16            69     J     4       J     5.0    J+     19      J+    <1      J
                                   7           8        5/19/2020   17:44                      28      63     9        SiL      7.8             17.5     J+        3.24   J+   0.607    J+   2.11     J+   <0.2          2.50          102      J     4       J     4.1    J+     18      J+    <1      J
                                   8           9        5/19/2020   17:46                       -       -      -        -        -                -                  -            -             -            -             -             64     J      4      J     4.2    J+     18      J+    <1      J
                                   9          10        5/19/2020   17:48                       -       -      -        -        -                -                  -            -             -            -             -             39     J     4       J     5.8    J+     18      J+    <1      J
                                   0           1        5/20/2020   14:12                      70      22      8       SL       9.0             9.27     J         2.53   J+    14.5    J     3.13    J     2.7          3.02          1380     J    310      J     9.8    J+     56       J     2     J+
                                   1           2        5/20/2020   14:14                      70      21      9       SL       8.3             6.20     J         2.25   J+    7.12    J     2.53    J    <0.2          1.55            86     J      3      J     5.0    J+     33       J    <1      J
                                   2           3        5/20/2020   14:16                      42      48     10        L       7.9             18.3     J         6.27    J    1.40    J    3.98     J    <0.2          5.08          137      J     1       J     6.6    J+     37       J    <1      J
                                   3           4        5/20/2020   14:18                      48      45     7         L       7.9             18.5     J         5.72    J   0.465    J    4.15     J    <0.2          3.72            39     J     2       J     8.9    J+     28      J+    <1      J
                                   4           5        5/20/2020   14:20                      60      34     6        SL       7.9             16.4     J         4.06    J   0.615    J    3.51     J    <0.2          3.30           <30     J      2      J    11.4    J+     18      J+    <1      J
          SMD-H1
                                   5           6        5/20/2020   14:22                       -       -      -        -        -                -                  -            -             -            -             -           <30      J     1       J    13.6    J+    2.8      J+    <1      J
                                   6           7        5/20/2020   14:24                       -       -      -        -        -                -                  -            -             -            -             -           <30      J     2       J    10.6    J+    1.4      J+    <1      J
                                   7           8        5/20/2020   14:26                       -       -      -        -        -                -                  -            -             -            -             -            42      J     1       J    11.0    J+    1.4      J+    <1      J
                                   8           9        5/20/2020   14:28                       -       -      -        -        -                -                  -            -             -            -             -           <30      J     1       J    10.8    J+    1.1      J+    <1      J
                                   9          10        5/20/2020   14:30                       -       -      -        -        -                -                  -            -             -            -             -             27     J     1       J    12.5    J+    1.4      J+    <1      J
                                   0           1        5/20/2020   15:00                      58      30     12       SL       8.9             10.5     J         3.23   J+    17.4    J     4.66    J    1.5           4.16          1060     J    380      J     5.9    J+     81       J     2     J+
                                   1           2        5/20/2020   15:02                      54      39      7       SL       8.4             11.8     J         1.60   J+    10.5    J     2.03    J    0.2           3.18           117     J      5      J     2.5    J+     39       J    <1      J
                                   2           3        5/20/2020   15:04                      44      50      6       SiL      8.0             12.8     J         1.67   J+    7.00    J     1.40    J    <0.2          2.85            50     J     2       J     6.6    J+     26      J+    <1      J
                                   3           4        5/20/2020   15:06                      48      44     8         L       7.8             15.9     J         2.46   J+    3.00    J    0.816    J    <0.2          2.87            29     J     2       J     6.0    J+     13      J+    <1      J
                                   4           5        5/20/2020   15:07                       -       -      -        -        -                -                  -            -             -            -             -           <30      J     2       J     5.3    J+     11      J+    <1      J
          SMD-H2
                                   5           6        5/20/2020   15:08                       -       -      -        -        -                -                  -            -             -            -             -           <30      J     2       J    12.1    J+    9.6      J+    <1      J
                                   6           7        5/20/2020   15:10                       -       -      -        -        -                -                  -            -             -            -             -             38     J     2       J     9.8    J+     12      J+    <1      J
                                   7           8        5/20/2020   15:12                       -       -      -        -        -                -                  -            -             -            -             -           <30      J     2       J     8.3    J+     15      J+    <1      J
                                   8           9        5/20/2020   15:14                       -       -      -        -        -                -                  -            -             -            -             -           <30      J     1       J    8.6     J+     13      J+    <1      J
                                   9          10        5/20/2020   15:16                       -       -      -        -        -                -                  -            -             -            -             -             50     J     5       J     9.7    J+    9.8      J+    <1      J
                                  2.8         3.1       5/20/2020   11:40                      42      41     17        L       8.1             21.4     J         12.8    J    16.8    J     6.40    J    9.4           7.08          4550     J    730      J     2.8    J+    170       J    13     J+
          SMD-L1                  3.1          5        5/20/2020   11:45                      48      43      9        L       8.4             6.02     J         1.33   J+    10.2    J     2.06    J    0.3           3.16           467     J     28      J    236     J+     40       J     1     J+
                                   6           8        5/20/2020   11:50                      50      41      9        L       8.2             11.0     J         2.12   J+    6.53    J     1.60    J     0.2          3.80           637     J      4      J    500     J+    <1.0      J    <1      J
                                   3           5        5/20/2020   13:05                      66      28      6       SL       8.1             6.40     J         1.81   J+    5.55    J    0.979    J    <0.2          2.64           374     J      9      J    344     J+     59       J    <1      J
          SMD-L2                   5          7.4       5/20/2020   13:10                      38      54      8       SiL      8.1             13.1     J         4.23   J+    2.03    J    0.914    J    <0.2          3.39           442     J      2      J    344     J+    <1.0      J    <1      J
                                  7.4         10        5/20/2020   13:15                       -       -      -        -        -                -                  -            -             -            -             -           133      J     2       J     76     J+    <1.0      J    <1      J
                                  4.5         6.4       5/20/2020   12:07                      52      38     10        L       8.4             12.1     J         4.15   J+    5.12    J     1.83    J    <0.2          3.68           433     J      9      J    305     J+    <1.0      J    <1      J
        SMD-L3-02
                                  6.4         10        5/20/2020   12:15                      54      38      8       SL       8.2             15.6     J         4.55   J+   0.806    J     1.06    J    <0.2          3.66            44     J      1      J     29     J+    1.8      J+    <1      J

  < indicates below detection                                               Si indicates silt
  - indicates the sample was not analyzed for this constituent              S indicates sand
    mg/kg indicates milligram per kilogram                                  L indicates loam
    s.u. indicates standard units                                           SiL indicates silty loam
    meq/100 g indicates milliequivalents per 100 grams                      SL indicates sandy loam

   Q - Data validation qualifier
                          J      Estimated
                          J+ Overestimated
                         UJ Estimated Non-Detect
                         J-      Underestimated
                         R       Unusable


                                                                                                                                Erickson Declaration - Exhibit 3
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Farallon Soil Analytical Results

                        Depth (ft   pH, sat. Calcium,   Magnesium,     Potassium,     Sodium,       Organic    Lime as   Nitrogen, Kjeldahl,   Phosphorus,   Ammonia as N, Nitrate as Nitrite as
       Station ID         bgs)       paste Extractabl   Extractable    Extractable   Extractable    Matter     CaCO3         Total as N           Olsen       KCL Extract   N, KCL     N, KCL
                                                                                                                                                                                mg
                          Start      s.u.     mg/kg       mg/kg          mg/kg         mg/kg          %             %          mg/kg              mg/kg          mg/kg                   mg/kg
                                                                                                                                                                              /kg‐dry
                           2.5
                            5
                           10
                           15                 17000        7300           1700           290                                    290               920             73.9          72       <0.26
                           20
        FMW‐01             25
                           30
                           35                15000.0       8400           2400           350                                    200               820             44.8         9.6       <0.26
                           40
                           45
                           50
                            5
                           10
        FMW‐03
                           15
                           20
                           2.5
        FMW‐04              5                 15000        6600           1900           510                                    380               880             78.6        <0.59      <0.23
                           15
                           2.5
        FMW‐05              5                 17000        6900           1700           570                                    160               770             54.1         4.2       <0.26
                           15
                           2.5
                            5                 12000        7100           1500           320                                    200               870             41.7          36       <0.25
        FMW‐06
                           15
                           20
                           2.5
                            5                 11000        6800           1800           270                                    330               790             48.1          47       <0.26
        FMW‐07
                           15
                           20
                            2                 9700         6300           3500           360                                    560               890             557         <0.63      <0.25
                            5
        FMW‐08             10
                           15
                           20
                           2.5                14000        7200           5400           450                                    250               1100            63.6        <0.64      <0.26
                            5                 14000        6800           5600           390                                    390               1000            279         <0.65      <0.26
        FMW‐09             10
                           15
                           20
                            2
                            5                 9500         6900           1000           350                                     56               910             30.2          42       <0.23



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       FMW‐10                  10
                               15
                               20

< indicates below detection
‐ indicates the sample was not analyzed for this constituent
  mg/kg indicates milligram per kilogram
  s.u. indicates standard units
  meq/100 g indicates milliequivalents per 100 grams

 Q ‐ Data validation qualifier
                       J     Estimated
                       J+ Overestimated
                      UJ Estimated Non‐Detect
                       J‐ Underestimated
                      R      Unusable




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                         Exhibit E – Curriculum Vitae




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    David J. Erickson, PG, CPG
    President/Hydrogeologist
    Water & Environmental Technologies, PC
    480 East Park, Suite 200
    Butte, MT 59701
    (406)782-5220
    derickson@waterenvtech.com


    Education
       •  Bachelor of Science, Geological Engineering, Montana College of Mineral
          Science & Technology 1988
       •  Continuing Education Credits – 1990, 1991

    Professional History
       •   Water & Environmental Technologies; Butte, MT, President/Hydrogeologist, August
           2000 – present
       •   Atlatl, Inc., Butte; MT, Principal Hydrogeologist/Project Manager, May 1994 – August
           2000
       •   Special Resource Management, Inc.; Butte, MT, Geological Engineer/Hydrogeologist,
           1990-1994
       •   Woodward-Clyde Consultants; Houston, Texas, Staff Geological
           Engineer/Hydrogeologist, 1989-1990
       •   Petroleum Testing Service; Houston, Texas, Geological Technician, 1988-1989


    Representative Experience

    Project Manager and Hydrogeologist responsible for the characterization and remediation
    of a dissolved solvent plume from a county landfill. Remediation consists of in-situ air
    sparging and a funnel-and-gate capture and in-situ treatment system. The sites complex
    fractured bedrock and extremely complex ground water flow characteristics required
    innovative investigation technology to understand the water and contaminant interaction
    between the bedrock and the alluvial aquifers and ground water and surface water.
    Project highlights include:
         The use of geophysical method to characterize the bedrock topography and the
            connection and interaction between aquifers,
         The use of direct push subsurface investigation methods to characterize site
            conditions and identify contaminant transport pathways,
         Ground water flow and contaminant transport modeling to describe site conditions
            and test remedial options,
         The installation of source specific remedial methods to control landfill leachate
            impacts,
         Long term responsibility for all surface water, ground water, remediation, and
            reporting requirements for the site, and
         Presentation of site characteristics, model results, and site remediation costs in
            District Court.



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    Project Hydrogeologist and Lead Expert for the investigation and characterization of
    geologic, hydrogeologic, and contaminant migration characteristics of solvent and fuel
    contamination impacting a residential neighborhood. The goal of the investigation work
    was to determine the source of contamination and identify the responsible party.
    Geophysical methods (soil conductivity logging) and depth specific profile sampling was
    used to identify perchloroethylene migration and degradation in multiple production
    zones within the alluvial aquifer. This subsurface investigation established a connection
    between historical lagoon leakage and residential supply wells.

    Project Manager and Lead Expert conducting a site investigation to assess the impact of
    historical mining and milling activities on ground water and stream water quality.
    Dissolved metals concentrations impacting a small town public water supply system
    prompted a complaint against the Mining Company. Tailings investigations and in
    stream tracer testing established a direct connection between stream water contamination
    and spring contamination.

    Project Hydrogeologist/Manager for the investigation and remediation of many UST and
    Hazardous Waste Sites. Contaminants include fuels, solvents, wood treating compounds,
    metals, pesticides, herbicides, fungicides, and fertilizers.

    Project Manager/Hydrogeologist responsible for the design, installation, and monitoring
    of various types of remedial technologies or remedial methods including (air stripping,
    air sparging, vapor extraction, bioventing, bio-cell treatment, biostimulation (ORC),
    NAPL recovery, in-situ & ex-situ bioremediation, natural attenuation, excavation & off-
    site disposal).

    Project Manager responsible for the investigation and remediation of 29 sites in Montana
    and North Dakota where pesticides, herbicides, fungicides, fuels and fertilizers were
    spilled.

    Project Manager and Hydrogeologist for extensive study and ground water modeling of
    contaminant effects from ash disposal ponds on an arid Wyoming drainage. The study
    involved:
        Prediction of contaminant transport,
        Simulation of remedial options,
        Design, installation, optimization and operation of remediation system,
        Permitting of facility expansion,
        Extensive presentations and negotiations with regulatory agencies, and
        Dispute resolution between the facility and potentially effected parties.

    Project Engineer responsible for the design and permitting of a double-lined hazardous
    and non-hazardous repository with leachate collection and ground water relief system.




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    Project Engineer and Project Manager responsible for the design of ground water
    monitoring systems and subsurface geological, hydrogeological, and geotechnical
    investigation.

    Project Hydrogeologist studying ground water fluctuations at a RCRA Part B TSD
    (Hazardous Waste Disposal Facility) in Oregon. Both hydrogeologic and contaminant
    transport characteristics were very complex.

    Project Hydrologist responsible for sediment transport and stream water quality modeling
    for mine tailing disposal project in Malasia.

    Project Hydrogeologist responsible for re-permitting several industrial landfills for large
    coal-fired electric generating plants in Wyoming. Projects involved investigation of
    water quality degradation from fly ash disposal activities and characterization of the
    potential health risks. A statistical evaluation of the water quality was completed to
    identify potential impacts.

    Project Hydrogeologist for evaluation water chemistry changes resulting from the use of
    wastewater for irrigation at a research farm in Utah.

    Project Hydrogeologist for yearly monitoring data analysis at several industrial plants
    with ponds or landfills in Wyoming and Utah.

    Project Hydrogeologist performing final phase of landfill siting study for new RCRA
    Subtitle D Municipal Solid Waste Landfill

    Project Hydrogeologist/Manager for the investigation and remediation of many UST and
    Hazardous Waste Sites. Contaminants include fuels, solvents, wood treating compounds,
    metals, pesticides, herbicides, fungicides, and fertilizers.

    Project Manager/Hydrogeologist responsible for the design, installation, and monitoring
    of various types of remedial technologies or remedial methods including (air stripping,
    air sparging, vapor extraction, bioventing, bio-cell treatment, biostimulation (ORC),
    NAPL recovery, in-situ & ex-situ bioremediation, natural attenuation, excavation & off-
    site disposal).

    Project Manager responsible for the investigation and remediation of 29 sites in Montana
    and North Dakota where pesticides, herbicides, fungicides, fuels and fertilizers were
    spilled.


    Expert Witness/Litigation Support Experience

       •   Park County v. Burlington Northern Santa Fe Railway Company, Montana Sixth
           Judicial District Court, Park County, Cause No. DV 97-75, July, 1999.




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       •   C&P Packing v. Burlington Northern Santa Fe Railway Company, Park County,
           January 2001.
       •   Hepp v. Conoco Inc. et. al., ADV-2003-14
       •   Town of Sunburst v. Texaco et. al., CDV-01-179 (a)
       •   Town of Superior v. Asarco Incorporated, US District Court, Missoula Division
       •   Aguiar v. Burlington Northern, United States District Court, Great Falls Division
       •   Schammel et. al. v.CR Kendall Corporation, United States District Court, Great
           Falls Division.
       •   Van Haur v. CR Kendal Corp United States District Court, Great Falls Division
       •   Weiss et. al. v. HCI Dyce Chemical Company, CV-00-123-BLG-JDS
       •   Sieben Livestock Company v. Harp Line Contractors.
       •   Cool Breeze Inc. v. Flying J Inc., Maxim Technologies Inc.
       •   Cause No. ADV-04-984
       •   Friends of the Little Bitterroot v. Commissioners of Flathead County Cause No.:
           DV-06-560
       •   Mapleton City Corporation v. The Ensign-Bickford Company, Case
           No. 020404933
       •   Bergren v. BNSF: CV-03-120-BLG-RFC
       •   Devries v. BNSF: CV-03-121-BLG-RFC
       •   Outlook Enterprises v. BNSF: CV-03-139-BLG-RFC
       •   Hallett Minerals v. BNSF Cause No. CV-03-161-BLG-RFC
       •   Ruggles Excavation v. BNSF Cause No. CV-03-160-BLG-RFC
       •   Burley, Nelson, Meridith v. BNSF
       •   Anderson et. al. v. BNSF, Cause No. ADV-2008-101
       •   Kerfoot v. Texaco et. al. Cause No BDV-08-1276
       •   City of Livingston et. al. V. BNSF, Cause No. DV07-141
       •   Graham et, al.v. BNSF, Cause No. CV-12-145-M-DVM
       •   CARE, Inc. and Center for Food Safety, Inc. v. Cow Palace, LLC, Docket No.
           2:13-cv-3016-TOR
       •
       •   Lockman v. Pioneer Natural Resources, Cause No. CV-20-67-BMM-JTJ

    Professional Development
       •   Hazardous Waste and Geotech                          •       Geostatistical Analysis in
           Sampling Seminar                                             Hazardous Waste Site Evaluation
       •   Monitoring Well Installation                         •       Ground Water Summit 2008
           Seminar                                              •       Montana Water Law Conference
       •   Analytical Laboratory Seminar                                2007
           (ENSECO)                                             •       Landfill Gas Extraction & Ground
       •   Design & Construction of RCRA                                Water Corrective Measures
           Final Covers                                                 (presenter)
       •   Enhanced Bioremediation (EPA)                        •       National Ground Water Association
       •   Ground Water Pollution &                                     Annual Conference – heterogeneity
           Hydrogeology, Princeton                              •       Environmental Geochemistry of
                                                                        Metals




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       •   Environmental Isotopes in Ground                        •       2004 NGWA Water &
           Water Resource and Environmental                                Environmental Law Conference
           Contamination                                           •       Agrochemical Transport and Fate
       •   Environmental Forensics: Methods                                2022
           & Applications




    Certifications
    Professional Geologist, Wyoming PG-3101
    Professional Geologist, Utah PG-2250
    Certified Professional Geologist, American Institute of Professional Geologists, CPG#9402
    OSHA 29 CFR 1910.120 Health & Safety
    OSHA 29 CFR Certified Waste Site Supervisor
    Certified Monitoring Well Constructor

    Affiliations
    Association of Ground Water Scientists & Engineers
    National Ground Water Association
    American Institute of Professional Geologist
    American Chemical Society
    International Society of Environmental Forensics


    Awards
    Montana Tech Distinguished Alumni Recognition Award, 2003




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